Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 1 of 122 Page ID #:11




                          EXHIBIT A
Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 2 of 122 Page ID #:12

                                                                          Service of Process
                                                                          Transmittal
                                                                          11/02/2017
                                                                          CT Log Number 532229583
     TO:     Ronald Odom
             WellPoint,Inc
             21555 Oxnard St
             Woodland Hills, CA 91367-4943

     RE:     Process Served in California

     FOR:    Anthem Blue Cross Life and Health Insurance Company (Domestic State: CA)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                 NAMDY CONSULTING, INC., Pltf. vs. Anthem Blue Cross Life and Health Insurance
                                      Co., et al., Dfts.
     DOCUMENT(S) SERVED:              Summons, Complaint, Attachment(s)
     COURT/AGENCY:                    Los Angeles County - Superior Court, CA
                                      Case # BC680021
     NATURE OF ACTION:                Insurance Litigation
     ON WHOM PROCESS WAS SERVED:      C T Corporation System, Los Angeles, CA
     DATE AND HOUR OF SERVICE:        By Process Server on 11/02/2017 at 12:55
     JURISDICTION SERVED :            California
     APPEARANCE OR ANSWER DUE:        Within 30 days after service
     ATTORNEY(S) / SENDER(S):         ALAN NESBIT
                                      8383 Wilshire Boulevard Ste 800
                                      Beverly Hills, CA 90211
                                      323-456-8605
     ACTION ITEMS:                    CT has retained the current log, Retain Date: 11/03/2017, Expected Purge Date:
                                      11/08/2017

                                      Image SOP

                                      Email Notification, Susan D'Agostino Sue.D'Agostino@anthem.com

                                      Email Notification, Taysa Cashen taysa.cashen@wellpoint.com

                                      Email Notification, Ronald Odom Ronald.Odom@wellpoint.com

     SIGNED:                          C T Corporation System
     ADDRESS:                         818 West Seventh Street
                                      Los Angeles, CA 90017
     TELEPHONE:                       213-337-4615




                                                                          Page 1 of 1 / RP
                                                                          Information displayed on this transmittal is for CT
                                                                          Corporation's record keeping purposes only and is provided to
                                                                          the recipient for quick reference. This information does not
                                                                          constitute a legal opinion as to the nature of action, the
                                                                          amount of damages, the answer date, or any information
                                                                          contained in the documents themselves. Recipient is
                                                                          responsible for interpreting said documents and for taking
                                                                          appropriate action. Signatures on certified mail receipts
                                                                          confirm receipt of package only, not contents.
     S




Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 3 of 122 Page ID #:13
                                                                                                                                 lI/az& e(lctg

                                           SUMMONS                                                                       FOR COURT 1155 ONLY
                                                                                                                       (3Oppp  tao era COATS)
                                   (CI TA ClOt! JUDICIAL)
                                                                                                               COPWOMEO COPY
 NOTICE TO DEFENDANT:                                                                                            ORIGiNAL P11.51)
 (A WSO AL DEMANDADO):                                                                                        Superior Court of CalifOrnia
                                                                                                                County !lf l.I:)p Annelnc
  ANTHEM BLUE CROSS LIFE AND HEALTh INSURANCE CO.
  AND BLUE SHIELD OF CALIFORNIA AND DOES 1.40                                                                         OCT-1 .8 2017
 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA I3EMANDANDO EL DEMANDANTE):                                                                           a cams Seaunva Otllg*/ujs*
                                                                                                                tWGtta Robinson, Deputy
 NAMDY CONSULTING, INC.


   below.
     You have 30 CALENDAR DAYS after this summons and legal papem are served on you to file a written response at this court and have a copy
  sawed on the plalnif IL . A letter or phone call wIll not protect you. Your written response must be In proper legal form if you want the court to hear your
   case. There may be a court form the( you can use for your response. You can find these court fonns and more InformatIon at the CalIfornia Courts
  Online SelfHeIp Center (w w.coudhtcagowteh1ie), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, aalc
  the court dart for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and properly
  may betakenwfthoulfur tharwarnlng from the court
      There are other legal roquirernents. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral servIce. If you cannot afford an attorney, you may be etigibie for free legal seMces from a nonprofll legal services program. You can locate
  these nonprofit groups at the California Legal SeMces Web are (www.lawhefpcaflfomlaa). the California Courts OnlIne Self-Help Center
  (wwwcowt4fo.cagovIselThe!p), or by contacllng your local court or county bar aasociallon. NO'TEr The court haa 5 statutory lien forwalved fees and
  costs on any eatliemant or arbitration award of $10,000 or more In a dvii case. The court's lien ritual be paId before the court wIll dIsmIss the can.
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   raww.lawhslpcallfomla.org), an at Centre do Aj.vda doles Cones do CalIfornIa Avww.sucoste.ca.gov) opordOndasa on contacto con is code oat
 categlo do abogados locates. A VlSO: Portay, to code Elena deracho a teclaniaflea cuotes pbs cots axentos par bnponer tin gtavamen sobrn
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 pager a! gravemen dale code enSue do qua Is code pueda deseaharal case.

(El nombre p dIrection do is code as): Los Angeles Superior Court, Central DiSt
 111 North Hill Street, Los Angeles, California 90012

The name, eddrehe, and telephone number of plaintiffs attorney, or plaintiff without an attorney, Is
(El nombre, to directiOn yet nOmam do loldfono dol ebogedo del domandante, o del demondanto qtp no I/one abogedo, as):
Alan Nesbit,      Esq, 8383 Wilshire Boulevard, Suite 800, Beverly Hills, Calitbml
                                 SHERRy R. %RTER
DATE:       OCT *82011                                                         Cleric, by
                                                                                                      a.
     roar or service at mis summons, use rico? or 5ervrce or 5umrnons (torni ias-uiwj
     piuebe do entrega do asia citation use of fotmula rio Proof of Service of Summons, (POS.01(
                                      IU I IjC IV I flC rcnoun annvcIJ;
                                     NO I                                         are seivea
                                                                                   You

MW                                       C     as an Individual defendant.
                                               as the person sued under the fictitious name of (specify):

                                    3.1              behalf ottspecioo:My\                  £k(4°ccc cc n1 tS51\uuP.eO.
                                                 -       CCP 416.10 (corporation)
                                                          CP 416.20 (defunct corporation)
                                                                                                           C       CCP 416.60 (minor)
                                                                                                                   COP 416.70 (conservafee)
                                                 EJ      COP 416.40 (associatIon or partnership)           c:      COP 416.90 (authorIzed person)
                                              A1 other (snoriM:
                                    4.   cfl by personal delivery on (date):          I.d.2.10,9L                                                P.au loft
FomAdoadIorManUAtflUse                                                SUMMONS                                                  casarcsl floutog4 41220,405
  acbl Camdl 01 Caflais
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Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 4 of 122 Page ID #:14


                                                                                                                 FOR COURT USE ONLY       -

                                                                                                              .Us'tur$,vicQ COPY
                                      800                                                                      ORIGINAL. PILED
                                                                                                            Superlr Court of California
       TELEPH0NENO.   323.456.8605                     FMr     323.456.8605                                   County of Los Anaeloe

                                                                                                                    OCT I 92017
     siaccmoss Ill North            Hills Street
     M.smonoonas& Same                                                                                  Shoed R. Caster, Ekoguulve Officas/
     aarnipcoot LosAnneles.CA 90012                                                                       B'tj: tlfovletta Robinson, Depoty
   CASE NAME:
                                                     a Cross Li% and Health Ins., et al.
       IVIL CASE COVER SHEET                             Complex Case Designation
       Unlimited   C] Umited
       (Amount        (Amount                        C counter C .ioincter
                                                                                                    JUDGE
       demanded       demanded Is                    Flied with first appearance by defendant
                                                         (Cal. Rules of Court rule 3.402)
                                                                                                                                                    I.


          one box below for the case               mat nescrioes mis case:
   Auto Tort                                         Contract                                  Provisionally Complex Clvii Utigatlon

   S     Auto (22)
         Uninsured motorist (46)
                                                     (2] Breath of contractMarmnty (06) (Cal. Rules of Court, rules 3.400-3.4031
                                                     C] Auto 3.740 collections (05)            C Antllrustlr,ade regulation (03)                   a..
   Other PIIPDIIND (Personal In)u,ylProperty
   DamageongfuI Death) Tort
         Asbestos (04)
                                                   H C
                                                            Other collectIons (OS)
                                                            insurance coverage (18)
                                                                                               CI Construction defect (10)
                                                                                               UJ Mesa toit(40)
                                                                                               C securities litigation
   C] Product liabilIty (24)                         Real Property                             C] Envtronmentallroxlc tort (30)
   C Medical malpractice (45)                        D Emlnent domatrifinvorse                 C Insurance cavemga claIms arising from the
   Ci Other PIIPDJWD (23)                                  condemnation (14)                         above fisted provisionally complex case
                                                     EJ Wrongful evIction (33)                       types (41)
         Business torthinfair business practice (07) C                                         Enforcement   of Judgment
         Civil rights (08)                           Unlawful Detalner                         IIEnforcement orjudgment (20)
         DefamatIon (13)                                   CommerIal (31)                      Miscellaneous CMI Complaint
         Fraud (10)                                  U Residential (32)                        C RICO (27)
         intellectual properly (10)                  CJ Drugs (38)                             C] Other mplatnt(notgoedSdahove) (42)
         Professional neglIgence (25)                Judicial Review                           Miscellaneous CMI Petition
         Other non-PUPDIWD lost (35)                       Asset forfeIture (05)               C Partnersh, and corporate governance (21)
                                                           Petition re: arbItration award (11)
                                                                                               C] Other petition (not specified above) (43)
         Wrongful terminatIon (30)                         bMt of mandate (02)

2. This case 11 Is LU Is not complex under rule MOO of the California Rules of Court. If the case Is complex, mark the
   factors requiring exceplional Judicial management
      [I]. Large number of separately represented parties    d. CLarge number of witnesses
      U Extensive motion practice raising difficult or novel a. IICoordination with related actions pending In one or more courts
            Issues that will be time-consuming to resolve         In other counties, states, or countries, or In a federal court
   o. CI Substantial amount of documentary evidence          f. IISubstantial posudgment Judicial supervision
3. RemedIes sought (check all That app4'): a.[7J monetary b.lI nonmonetary; dectaratory or injunctive relief a Jpunitive
4. Number of causes of action (specify):
S. ThIs case C] is (2] is not a class action suit
S. If there are any known related cases, lila and serve a notice of related case. (You ma use lbmi CM-015.)
Date: October 17, 2017
                    Alan Nesbit                                                              _____________________

 • Plaintiff must file this cover sheet with the that paper filed In the action or proceeding (except smali claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and institutions cede). (Cal Rules of 9ourt, rule 3.220.) Failure to file may result
    In sanctions.
 • File this cover sheet In addition to any cover sheet required by local court rule.
 • If this case Is complex under rule 3.400 at seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
 • Unless this isa collections case under rule 3.140 ore complex case, this cover sheet will be used for statistical purposes only. -          -




                                                  CIVIL CASE COVER SHEET
 Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 5 of 122 Page ID #:15



    °      '1QAMDV V. ANThEM BLUE CROSS HEALTH AND LIFE INS.                                   J
                              CIVIL CASE COVER SHEET ADDENDUM AND    fly s"                                        -     -



                                      STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
              This form Is required pursuant to Local Rule 2.3 In all new clvii case filings In the Los Angeles Superior Court.



        Step 1:   After completing the CMI Case Cover Sheet (Judicial Council form CM-OlD), find the exact case type In
                  Column A that corresponds to the case type Indicated in the CMI Case Cover Sheet.


        Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

        Step 3: In Column C, circle the number whIch explains the reason for the court filing location you have
                  chosen.

                                      Applicable Reasons for Choosing Court Filing Location (Column C)                         1
1, Class actions nuIst bellied In the Stanley Mosk Coutihouse, Central Oisldct    7. Location whom petitioner resides.
2. PermissIve filing In central diatrici.                                         S. Location wherein defendsnlkespondentfwictlons wholhj.
   Location whore cause of action arose.                                             Location thsre one or more of the parties reside.
   &Iandatoiy pemonal InJunj filing In North Diairtct.                               Location of Labor Comm!sslonerofllce.
                                                                                     Mandatory filing location (Hub Cases —unlawful detalner, limited
  Location where parfonnancerequlred or defendant resIdes.                       non-collection, limited collection, or personal injury).
  Location of property or pennanentlygaraged vehIcle.




                         Auto (22)              0 A7100 Motor VeIdde- Personal lnjurylProperly DamageongM Death                   14, 11
  St
                  Uninsured Motollst (46)      0 A7110 Personal bpy/PropeflyDamageaWrongM Death —unlnauredMolodst                 1,4,11

                                               o nob Asbestos Ptoperty Damage                                                     1. 11
                       Asbestos(04)
                                               0 4MI Asbestos - PeraonaIirurylWrongiUlDeath                                       1.11
  tg
   25              Pmduc4 Usbflhty (24)        D A7260 Product Uablihly (not asbestos orto,dc/enilronmentai)                      1.4. 11

  H               Modicol Malpractice (46)
                                               o A7210 Medlcei Malpractice -Phyatclans&Surgectls
                                               0 A7240 Oilier Professional Health Care Malpractice
                                                                                                                                  1.4.11
                                                                                                                                  14.11
   .5
   C
   00
                                               o   M230 PremisesUabiilly(e.g.,stlpandfail)                                        1 4 11
                      0th  ypweona)
                      injury Proparty          C A7230 intsnlionalBodIIylryIPropertyDarnage1WrongM Death (e.g..                   1 4.11
                     DaznageW'ongfut                    assault. vandeflsm, etc.)
                        Death (23)             0 A1270 intentlonailnlltctlon of Emotional DIstress                                t4.11
                                                                                                                                  1,4,11
                                               o A7220 Other Personal lnjurylProperty Dsmageongful Death




 LAClV 109 (Rev 2116)                        CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
 LASCpprovedo3-04                               AND STATEMENT OF LOCATION                                                       Page 1of 4
   Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 6 of 122 Page ID #:16

SHORT TITLE:                                                                                     CASE NUMBER
               NAMDY V. ANTHEM BLUE CROSS HEALTH AND LIFE INS.

                             A                                                          B                                                 C Appliiaible
                   Civil Case Cover Sheet                                         Type of Action                                       Reasons See Step 3
                                                                                                                                                  -

                       Category No.                                              (Check only one)                                  .         Abovo
                                                                                                                                              -




                     Business Tort (07)         0 A6029 Other CcmmerdallBuslness Tort (not fraudlbreach of contract)                    1. 2. 3

                      CMI RIghts (08)           Cl A6005 CMI Rlghts!Dlscrlmlnation                                                     1,2.3

                      Defamation (13)           0 A6010 Defamation (slander/libel)                                                     1. 2. 3
   aD
                         Fraud (16)             0 A6013 Fraud (no contract)                                                            1.2,3

  !                                             0 A6017 Legal Malpractice                                                              1.2,3
  or            Professional NeglIgence (25)
  D to                                          Cl A6050 Other ProfessIonal Malpractice (not medical or legal)                         1.2.3
   cm
  xc
                         Other (35)             0 A6025 Other Non-Personal Injury/Property Damage tort

                 Wrongful Termination (36)      0 A6037 Wrongful Termination                                                           1.2, 3

                                                0 A6024 Other Employment Complaint Case                                                1.2. 3
    'a            Other Employment (15)
     E                                          0 A6109 Labor CommissIoner Appeals                                                     10
    w
                                                o   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                       2,5
                                                          eviction)
                Breach of Contract! Warranty                                                                                           2,5
                            (06)                o   A6008 Contractmarranty Breach -Seller PlaIntiff (no fraud/negligence)
                      (not insurance)           0 A6019 Negligent Breach of ContractMarranty (no fraud)                                1, 2. 5
                                                                                                                                       1,2.5
                                                o   A6028 Other Breachof ConlractlWarranty (not fraud or negligence)

    O                                           0 A6002 Collections Case-Seller Plaintiff                                              5.6, 11
                      Collections (09)
    C                                           0 A6012 Other Promissory NotelCollections Case                                         5.11
    a                                           O A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                     5.6.11
                                                         Purthased_on or after January_1._2014)
                 Insurance Coverage (18)        13 A6015 InsuranceCoverage (not complex)                                               1,2.5.8

                                                o   A6009 Contractual Fraud                                                            1,2,3,5
                    Other Contract (37)         Cl A6031 Tortious Interference                                                         1.2,3.5
                                                o   .45027 Other Contract Dispute(not breachflnsurance!fraudinegllgence)               1,2,3.8.9

                 Eminent Domain!lnverse
                                                0 A7300 Eminent Domain/Condemnation                 Number of parcels______            2,6
                   Condemnation (14)

    a             Wrongful Eviction (33)        0 A6023 Wrongful EvictionCase                                                          2.6
    2
   a-
                                                o   A6018 Mortgage Foreclosure                                                         2.6
    ci
                 Other Real Property (26)       0 A6032 Quiet Title                                                                    2.6
                                                o   A5060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)       2,6

               Unlawful Detainer-Commercial
                                                0 .45021 Unlawful Detainer-Commercial (not drugs or wrongful evictIon).                6.11
   S
               Unlawful Detainer-Residential
                                               Cl A6020 Unlawful Detalner-Residentlal (not drugs or wrongful eviction)                 6.11
   o
   '3              Unlawful Detainer-
                                               0 A6020F Unlawful Detainer-Post-Foreclosure                                             2, S. 11
                  Post-Foreclosure (34)
               Unlawful Detainer-Drugs (38)    0 A6022 Unlawful Detainer-Orugs                                                         2. 6, 11



LAC1V109(Rev2I16)                              CIVIL CASE COVER SHEET ADDENDUM                                                     Local RuIe2.3
LASC Approved 03-04                               AND STATEMENT OF LOCATION                                                            Page 2 of 4
   Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 7 of 122 Page ID #:17

SHORT TITIL                                                                                     I   CASE NUMBER
              NAMDY V. ANTHEM BLUE CROSS HEALTH AND LIFE INS.




                          A                                                   .          B      -                            CApplicawe
                  CM Case Cover Shoot                            .                 Type of Action                         Reasons - See Step 3
                     Category No.                                                 (Check only one)                              Above

                   Asset Forfeiture (05)         0 *6108 Asset Forfeiture Case                                            2, 3. 6

                Petition re Asbitration (11)     0 *6115 Petition to CompellConflnnNacate*ftltraffon                      2,5

                                                 0 *6151 Writ - Mministrative Mandamus                                    2,8
      :Z:          Writ of Mandate (02)          0 *6152 Writ - Mandamus on Limited Court Case Matter                  2
                                                 0 *6153 Writ - Other Umited Court Case Review                         2

                Other Judicial Review (39)       0 *6150 Otherwlt IJudiclal Review                                     2.8

              Antitrust!Trade Regulation (03)    0 *6003 AntitrustlTrade Regulation                                    i, 2, 8
      C



      .2'        Construction Defect (10)       0 *6007 Constnfllon Defect                                             1,2.3
               Claims Involving Mass Tort
                                                o    *6008 Claims Involving Mass Ton                                   i• 2. 8
      a                   (40)
      E
      0
      o          Securities LitIgation (28)     0 *6035 SecurIties Litigation Case                                     i. 2.8

      C                Trndc Ton
      o            Environmental (30)           Cl *6036 Toxic Tort/Environmental                                     1,2.3.8
   Ja
               Insurance Coverage Claims
                 from Complex Case (0)          0 *6014 Insurance CoveragelSubn,gatlon (complex case only)            1.2.5.8

                                                o   *6141 SisterState Judgment                                        2.5.11
                                                o   *6160 Abstract of Judgment                                        2.6
  ow
  E E                 Enforcement               0 *6107 ConfessIon of Judgment (non-domestic relations)               2.9
  a, a'
  2 -a              of Judgment (20)            0 *8140 Administrative AgencyAward (not unpaid taxes)
 .24                                                                                                                  2,8
  C
  w 0  —                                        0 *6114 PetltlorICertJflcate for Entry of Judgment on Unpaid Tax      2.8
                                                o   *6112 Other Enforciment of Judgment Case                          2.8,9

                        RICO (27)               0 *5033 Racketeering (RICO) Case                                      i. 2,8

  o    'a,                                      0 *6030 Declaratozy Relief Only                                       1.2,8
 -      o          Other Complaints             0 *6040 Injunctive Relief Only (not domestic/harassment)              2,8
       S       (Not Specified Above) (42)       a   *6011 Other Commercial Complaint Case (non-tortlnon.complex)           2. 8
                                                0 *6000 Other CMI Complaint (non-torunon-comptex)                     1.2,8

                Partnership CorporatIon
                   Governance (21)              0 *5113 PartnershIp and Corporate Governance Case                     2.8

                                                o *6121 CIvil Harassment                                              2.3,9
  0    a,
  = c                                           0 *8123 Workplace Harassment                                          2,3,9
  2
 .9 V                                           0 *5124 Elder/Dependent Adult Abuse Case                              2, 3, 9
       IL         Other Petitions (Not
  o =            SpecifledAbove)(43)            0 *6190 ElectionContest
  a,>                                                                                                                 2
                                                0 *6110 Petition for Change of NamelChange of Gender
                                                                                                                     2.7
                                                o   *eiio Petition for Relief from Late Claim Law
                                                                                                                           3, 8
                                                o *6100 Other CMI Petition
                                                                                                                     2.9




LACIV 109 (Rev 2/16)                           CIVIL CASE COVER SHEET ADDENDUM                                     Local Rule 2.3
LASC Approved 03-04                               AND STATEMENT OF LOCATION                                          Page 3 of 4
    Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 8 of 122 Page ID #:18

 SHORT TITLE:                                                                           CASE NUMBER
                NAMDV V. ANTHEM BLUE CROSS HEALTH AND LIFE INS.


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                    ADDRESS:
   REASON:
                                                                    2080 Century Park East, Suite 1111
       1.02.03.04.5.06.07. 08.0 9.010.011.



   CITY:                                   STATE:     ZIP CODE:
   Century City                            CA        190067


Step 5: Certification of Assignment: I certify that this case is properly flIed in the Central                         District of
           the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)I.




  Dated: October 17,2017
                                                                                   —   A-f
                                                                                   (SIGNATURE OF ATTORNEYIFIUNG PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

           Original Complaint or Petition.

           If filing a Complaint, a completed Summons form for issuance by the Clerk.
           Civil Case Cover Sheet, Judicial Council form CM-010.

           Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
           02/16).

           Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
           A signed order appointing the Guardian ad Litem, Judicial Council form CIV-01 0. if the plaintiff or petitioner is a
           minor under 18 years of age will be required by Court in order to issue a summons.

           Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
           must be served along with the summons and complaint, or other initiating pleading in the case.




 LACIVI09(Rev2I16)                      CIVIL CASE COVER SHEET ADDENDUM                                            Local RuIe2.3
 tsc Approvea 004                          AND STATEMENT OF LOCATION                                                     Page 4 of 4
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                                         SUPERIOR COURT OP CALIFORNIA, COUM'V 01? lOS ANGELES
                                   NOTICE OP CASE ASSIGNMENT - UNLIMFFEJ) CIVIL CASE (NON-CLASS ACTION)
                                        CasePjumber
                                                                                  6 80 0 21
                                  THIS FORM IS TO BR SERVED WrrfltHE SUMMONS AND a)MPLAIP4T
       Your case is assigned for all purposes to the judge Indicated below. There Is more Information on the reverse side of this form.

            ASSIGNED JUDGE                   DEPT          ROOM      -     ASSIGNED JUDGE                       DEPT       ROOM
           Hon. Debra K. Weintraub              I           534           Hon. Elizabeth Allen White              48         506

           Hon. Barbara A. Melers                           636           Hon. flelrdre Bill                      49.        509

           Hon. Terry A. Green                 14           300           Hon. Teresa A. Beaudet                  50         508

           Hon. Richard Frain                  is           307           Hon. Michael J. Raphael                 51         511
           Hon, Rita Miller                    16           306           Hon. Susan Bryant-Dèason                52         510

           Hon. Richard E. Rico                17           309           Hon. Howard L. Balm                    53          513

           Hon. Stephanie Bowiek               19           311           Hon. Ernest M. Hiroslilge              54          512

           Hon. flaiRs Corral Lyons            20           310           Hon. Malcolm H. Mackey                 55          515

           Hon, Robert L. Hess                 24           314           Hon. Michael Johnson                   56          514

           Hon. YvetteM. Palazuelos            28           318           Hon. John P. Doyle                     58          516
           Hon. Barbara Scheper               30            400'          Hon. Gregory Keoslan                   61          132

           Hon, Samantha Jessner              31            407           Hon. Michael L. Stern                  62          600

           Hon. Daniel S. Murphy              32            406           Hon. Mark Mooney           .           68          617
           Hon. Michiet P. Llnfleld           34            408           Hon. William F. Pahey                  69          621

           Hon. Gregory Alarcon               36            410           Hon. Monica Bachner                    71          729

           Hon. Marc Marniaro                 37            413           Hon. Ruth Ann Kwan                     12         131

           Hem. Maureen Dully-LewIs           38            412           Hon. Raftel Ongkeko                    13          733

           Hon. Elizabeth Feller              39            415           Hon. Michelle Williams Court           14         735

           Hon. David Sotelo                  40            414           Ron. Gail Ruderman Feuer               78         130

           Hun. Holly R. Kendlg               42            416

           Hon. Met Red Recana     .          45            529           Hon. Steven J. Klellield              324        CCW
                                                                          •Provlslonalty Complex
           Hon. Frederick C. Shaller          46            500
                                                                          Non-class Action Cases
                                                                          Assignment Is Pending
           Hon. Randolph Hammock              47           507                                                  308        CCW

 'Cosnol

AR non-class action cases desIgnated as provIsionally complex are forwarded to die Supervising Judge of the Complex Litigation Program
located in the Central Civil West Cuurtbousó (600 S. Commonwealth Ave., Los Angeles 9000, for comploxlnon.complex determination
pursuant to Local Rule 3.3(k). This procedure Is for the purpose of assessing whether or not the case Is complex within the meaning of
California Rules of Court, rule 3.400. Depending on the outcome of that assessment, the case may be reassigned to one of the judges of the
Complex Litigation Program or reassigned randomly to a court In the Central District.

Given to the PlaintlfflCross-ComplalnantlAttorney ofRecord on                            SHERRI It. CARTER,Executive Officer/Clerk
                                                                                          By                                 .Deputy Clerk

LACIVCCH 190 (Rev.12fl8)                            -   NOTICE OF CASE ASSIGNMENT -                                                Page I of 2
   LASGAppzoved05-O8                                      UNLIMITED CIVIL CASE
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                                INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES


 The following critical provisions of the Chapter Three Rifles, as applicable in the Central District, are summarized for your assistance.

 APPLICATION

 The Chapter Three Rules were eflbetive January I, 1994. They apply to all general civil cases.

 PRIORITY OVER OTHER RULES

 The Chapter Three Rules shall have priority over all other Local Rules to the extent the others are inconsistent

 CHALLENGE TO ASSIGNED JUDGE

A challenge under Code of Civil Procedure section 170.6 most be made within 15 days after notice of assignment for all purposes to a
judge, or if a party has not yet appeared, within 15 days of the first appearance.

 TIME STANDARDS

Cases assigned to the Individual Calendaring Court will be subject to processing under the fb!lowfng time standards:

COMPLAINTS: All complaints shall be served within 60 days of filing and proofofservice shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is
filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.
A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the complaint.
Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement, trial date, and expert
witnesses.

FINAL STATUS CONFERENCE

The Court will require the parties at a status conkrence not more than 10 days before the trial to have timely filed and served all motions
in limine, bifUrcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and special jury
instructions and special jury verdicts. These matters may be beard and resolved at this conference. At least 5 days before this confemilce,
counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief statement of the case to be read to
the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.

SANCTIONS

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court, and
time standards or deadlines established by the Court or. by the Chapter Three Rules. Such sanctions may be on a party or if appropriate on
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c0unse1fOrthrparty......................                                         -.   ..........    ..-. ----------....- ----------------------------




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guarantee against the Imposition of sanctions under Trial Court Delay Reduction. Careful reading and compliance with the
actual Chapter Rules is absolutely imperative.




LAdy CCH 190 (Rev.12116)                           NOTICE OF CASE ASSIGNMENT                -             .             .        Page 2of2
    tASCApprovad 05.08                               UNLIMITED CIVIL CASE
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           ALAN NESBIT, ESQ.                                euoodor Court of OaIlfbTtiI
           Attorney-at-Law, SEN 310466                        Oorntv of Los Anot'
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           Beverly Hills, California 90211                        OCT ig 2011
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           Fax: (323) 456-8601                            abni K. Cartel, gajive taiweMø'
           Email: anesbit@nesbitlawgroup.com               or adS Roblllsfl. napatv
            Attorney for Plaintiff,
         6 NAMDY CONSULTING, INC.
      7

                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
      9                     COUNTY OF LOS ANGELES, CENTRAL DISTRICT
     10
     Is
                                                    CastRo.:        90 6 80021
     12    NAMDY CONSULTING, INC.,                  NAMDY CONSULTING, INC'S
     13                      Plaintiff,             COMPLAINT FOR:
     14                         V.                    RECOVERY OF PAYMENT
                                                      FOR SERVICES RENDERED;
     15 ANTHEM BLUE CROSS LIFE AND                    RECOVERY ON OPEN BOOK
     16 HEALTH INSURANCE CO. AND BLUE                 ACCOUNT;
         SHIELD OF CALIFORNIA AND DOES 1 -40,         QUANTUM MERUIT
     17
                      Defendants.                     BREACH OF IMPLIED
     18                                               CONTRACT;
     19                                               DECLARATORY RELIEF;
                                                      NEGLIGENCE PER SE; and
     20                                               INTERFERENCE WITH
    21                                                PROSPECTIVE ECONOMIC
                                                      ADVANTAGE
    22
    23                                              JURY TRIAL REQUESTED

    24                                              Damages: UNLIMITED: Over
    25                                              $25,000
    26
    27
    28
                                                                 ByFax
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        Plaintiff NAMDY CONSULTING, INC. (hereafter referred to as "NAMDY") complains and
    2 alleges:
                                            GENERAL ALLEGATIONS
    4     1. NAMDY is and at all relevant times was a corporation organized and existing under the
             laws of the State of California, and was and is a resident of the County of Los Angeles.
          2. NAMDY is and at all relevant times was in the business of purchasing and collecting
             accounts receivable on behalf of various other companies, including without limitation
             professional business entities engaged in the business of providing patients with medical
             services, medications, devices, and any other services related to healthcare. As such
   10        NAMDY has been assigned these accounts receivable and related claims by certain
   11        medical groups, physicians, or health care providers (hereinafter referred to as
   12        "Physicians"), who were fully licensed, certified, and in good standing under the laws of
   13        the State of California.
   14     3. Physicians provided medical care, services, treatthent, and/or procedures and services to
   15        members, subscribers and insureds of ANTHEM BLUE CROSS LIFE AND
   16        HEALTH INSURANCE CO. ("ANTHEM") AND BLUE SHIELD OF CALIFORNIA ("BLUE
   17        SHIELD") AND DOES I 40, California Corporations, (hereafter referred to as
                                        -




   18        "DEFENDANT" or "DEFENDANTS"). Physicians became entitled to reimbursement,
   19        payment and/or indemnification from DEFENDANTS for those services and supplies
   20        rendered. Physicians have assigned their right to payment and to collect their fees from
   21        DEFENDANTS to NAMDY.
   22     4. Physicians assigned these accounts receivable and related claims with the intention of
   23        terminating their ownership in these receivables and claims and transferring full
   24        ownership to NAMDY. Physicians no longer have the ability to pursue their collection of
   25        these receivables and claims against DEFENDANTS.
   26     5. DEFENDANT is a California corporation licensed to do business in and was doing
   27        business in the State of California, as an insurer. NAMDY is informed and believes that
   28        DEFENDANT is licensed by the Department of Insurance to transact the business of
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                 insurance in the State of California. DEFENDANT is, in fact, transacting the business of
    2            insurance in the State of California and is thereby subject to the laws and regulations of
    3            the State of California.
    4            The true names and capacities, whether individual, corporate, associate, or otherwise, of
                 DEFENDANTS are unknown to NAMDY, who therefore sues said DEFENDANTS by
                 such fictitious names. NAMDY is informed and believes and thereon alleges that each of
                 the DEFENDANTS designated herein as a DOE is legally responsible in some manner or
                 to some extent for the events and happenings referred to herein and legally caused injury
                 and damages proximately thereby to NAMDY. NAMDY will seek leave of this Court to
   10            amend this Complaint to insert their true names and capacities in place and instead of the
   11            fictitious names when they become known to it.
   12            At all times herein mentioned, unless otherwise indicated, DEFENDANTS were the
   13            agents and/or employees of each of the remaining DEFENDANTS, and were at all times
   14            acting within the purpose and scope of said agency and employment, and each
   15            DEFENDANT has ratified and approved the acts of his agent. At all times herein
   16            mentioned, DEFENDANTS had actual or ostensible authority to act on each other's
   17            behalf in certifying or authorizing the provision of medical services; processing and
   18            administering the claims and appeals; pricing the claims; approving or denying the
   19            claims; directing each other as to whether to pay and/or how to pay claims; issuing
   20            remittance advices and explanations of benefits statements; and, making payments to
   21            NAMDY and its patients.
   22                                                            FACTS
   23            This complaint arises out of the failure of DEFENDANTS to make payments due and
   24            owing to Physicians for surgical care, treatment, and procedures provided to numerous
   25            patients' (hereafter referred to as "Patients"), all of whom were insureds, members,
   26
   27     For privacy reasons and to comply with the Health Insurance Portability and Accountability Act of 1996 ("HIPPA"), the
        full names and identifying information pertaining to the patients has been withheld. This infonnation will be disclosed to
   28   DEFENDANTS upon request.
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             policyholders, certificate-holders, or were otherwise covered for health, hospitalization,
             pharmaceutical expenses, and major medical insurance through policies or certificates of
             insurance issued and underwritten by DEFENDANTS.
    4     9. None of the claims and/or causes of action in this Complaint are derivative of the
             contractual rights of the patients. In no way does NAMDY seek to enforce the contractual
    6        rights of the patients through the patients' insurance contracts, policies, certificates of
    7        coverage, and/or any other written insurance agreements between DEFENDANTS and
    8        any patients. The claims and causes of action are based upon the relationship and
    9        interactions between the Physicians and DEFENDANTS and upon the fact that the
   10        Patients were covered by DEFENDANTS.
   11     10. NAMDY is informed and believes that each of the Patients were insured by
   12        DEFENDANT either as a subscriber to coverage or a dependent of a subscriber to
   13        coverage under a policy or certificate of insurance issued and underwritten by
   14        DEFENDANT. NAMDY is informed and believes that each of the Patients entered into a
   15        valid insurance agreement with DEFENDANT for the specific purpose of ensuring that
   16        the Patients would have access to medically necessary treatments, care, procedures and
   17       surgeries by medical practitioners like the Physicians and ensuring that DEFENDANT
   18        would pay for the health care expenses incurred by the Patient.
   19    11. NAMDY is informed and believes, and on such information and belief alleges, that
   20       DEFENDANT received, and continues to receive, valuable premium payments from the
   21       Patients and/or other consideration from the Patients under the subject policies applicable
   22       to the Patients.
   23    12. At all relevant times, the Physicians provided medically necessary and appropriate
   24       services, care, treatment, and/or procedures to Patients holding valid insurance policies or
   25       certificates issued by DEFENDANT.
   26    13. The Physicians have a reputation for providing high quality care, treatment, and
   27       procedures. Their charges for services are on par with the charges of other physicians in
   28

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            the same general area for the same procedures and/or services. The Physicians' billed
    2       charges are reasonable, usual, and customary.
            The Physicians who provided medical services to Patients were "out-of-network
    4       providers" who had no preferred provider contracts or other contracts with
            DEFENDANT at the time that the surgeries or procedures were performed.
            It is standard practice in the healthcare industry that when a medical provider enters into
            a written preferred provider contract with a health plan such as DEFENDANT, that
            -medical provider agrees to accept reimbursement that is discounted from the medical
            provider's total billed charges in exchange for the benefits of being a preferred or
   10       contracted provider. Those benefits include an increased volume of business, because the
   11       health plan provides financial and other incentives to its members to receive their medical
   12       care and treatments from the contracted provider, such as advertising that the provider is
   13       ':in network,'t and allowing the members to pay lower co-payments and deductibles to
   14       obtain care and treatment from a contracted provider. When health plans such as
   15       DEFENDANT receive claims from in-network providers, they adjusts the total charges
   16       submitted by the in-network provider and pays an agreed upon contract rate to the in-
   17       network provider.
   18    16. Conversely, when a medical provider, such as Physicians, does not have a written
   19       contract with a health plan such that it is an out-of-network provider, the medical
   20       provider receives no referrals from the health plan, as the health plan discourages its
   21       members and subscribers from obtaiiiing their care from the non-contracted providers.
   22       The non-contracted provider has no obligation to reduce its charges, and is entitled to
   23       receive payment based on its billed or total charges for the services rendered (less any
   24       copayments, coinsurance amounts, or deductibles owed by the Patients). The health plan
   25       is not entitled to a discount from the medical provider's total billed charges for the
   26       services rendered, because it is not providing the medical provider with the benefits of
   27       increased patient volume that results from being an in-plan or in-network provider. In
   28       such cases, when a health plan such as DEFENDANT receives claims from the out-of-
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             network provider for the total charges billed by the out-of-network provider and then
    2        adjusts those claims, paying only those billed charges which are in an amount equivalent
    3        to the usual and customary amount charged by similar providers rendering similar
    4        treatment in the same or similar geographical location (less copayments, coinsurance, and
    5        deductible amounts).
    6     17. The Physicians were legally required to offer and render medical services, care,
             treatment, and/or procedures to the Patients, who were members, insureds, or subscribers
             of DEFENDANT, because the services were emergent. For each of the Patient claims at
             issue here, the Physician did in fact provide such emergency medical services, care,
   10        treatment, and/or procedures to the Patients, as required by law.
   11     18. Because the medical services, care, treatment, and/or procedures rendered by the
   12        Physicians to the Patients were emergent in nature, DEFENDANT was required by law to
   13        compensate the Physicians at usual, customary, and reasonable rates.
   14    19. The claims at issue in this case are comprised of claims for medical services, care,
   15        treatment, and/or procedures provided to members, insureds or subscribers of
   16        DEFENDANT by the Physicians, for which payments were made to the Physicians based
   17        upon a sum unilaterally determined by DEFENDANT to be usual, customary, and
   18        reasonable, which sums were not usual, reasonable, or customary and were far less than
   19        the Physicians' billed charges.
   20    20. Following performance of medical services, care, treatment, and/or procedures by the
   21        Physicians upon the Patients, invoices, bills and claims were submitted to DEFENDANT
   22        for adjustment and payment.
   23    21. Medical records pertaining to the Patients medical services, care, treatment, and/or
   24        procedures were provided to DEFENDANT by the Physicians. All information requested
   25        by DEFENDANT relating to the medical services, care, treatment, and/or procedure
   26        provided by the Physicians to the Patients was supplied to DEFENDANT by the
   27        Physicians.
   28

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             At all relevant times, the Physicians submitted their claims to DEFENDANT
             accompanied with lengthy operative reports, chart notes, and other medical records. No
             matter whether large or small, all of the Physicians' claims are submitted using CR1'
    4        codes, Healthcare Common Procedure Coding System ("HCPCS"), and modifiers, as
    5        necessary.
    6       At all relevant times, the Physicians expected to be reimbursed by DEFENDANT at the
    7        lesser of its billed charges or the then-current usual, customary, and reasonable rate,
    8       which is defined by California law as follows:
    9              A "usual" charge is the amount that is most consistently charged by an individual
   10              physician for a given service. A "customary" charge is the amount that falls within
                   a specified range of usual charges for a given service billed by most physicians
   11              with similar training and experience within a given geographical area. A
   12              "reasonable" charge is a charge that meets the Usual and Customary criteria, or is
                   otherwise reasonable in light of the complexity of treatment of the particular case.
   13              Under a UCR Program, the payment is the lowest of the actual billed charge, the
   14              physician's usual charge or the area customary charges for any given covered
                   service.
   15
   16       Rather than simply pay the Physicians the lesser of their billed charges or usual,
   17       customary, and reasonable rates, DEFENDANTS instead routinely and deliberately
   18       reimbursed the Physicians' claims at below usual, customary, and reasonable levels,
   19       forcing Physicians to exhaust time and energy first identifying and then appealing
   20       improperly reimbursed claims.
   21       DEFENDANTS have failed and refused to pay any monies, benefits, insurance proceeds,
   22       or make any payment to the Physicians in connection with the medically necessary
   23       services, care, treatment, and/or procedures rendered to the Patients by the Physicians, or
   24       have substantially underpaid benefits for such services at inappropriately low rates, using
   25       illegal and/or flawed databases and systems to calculate reimbursement for non-
   26       contracted providers and have failed and refused to pay the claims at usual, customary,
   27       and reasonable rates.
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            At all relevant times, DEFENDANT has improperly paid the Physicians for medically
    2       necessary and appropriate services rendered to DEFENDANT's insured at rates far bel
            the billed rates, even though there was no contractual relationship or preferred provider
            relationihip between the Physicians and DEFENDANTS. For each of the Patient claims
            at issue in this action, the Physicians provided medical services to members and insureds
            of DEFENDANT.
    7       The rates paid by DEFENDANT were not reasonable, customary or usual, and were
            arbitrary, capricious and inexplicable. Further, DEFENDANT has never explained how
    9       they calculated, justified, rationalized or comprised their pricing and rate schedule for
   10       non-contracted, out-of-network providers, such as the Physicians.
   ii       Often, the rates paid to the Physicians by DEFENDANTS for the exact same procedure,
   12       treatment, surgery, or services were paid at different rates during the same year. At other
   13       times, the Physicians were paid rates which were below what they would have received
   14       had they been a preferred or in-network provider, even though such volume-discounted
   15       rates would have been significantly lower than usual, reasonable, and customary rates as
   16       defined by California law.
   17       The California Department of Managed Health Care has adopted regulations that define
   18       the amount that health care service plans such as DEFENDANTS are obligated to pay
   19       non-contracted providers such as the Physicians. These regulations provide a
   20       methodology for determining the rate to be paid to out-of-network emergency room
   21       providers:
   22             For contracted providers without a written contract and non-contracted providers.
                     the payment of the reasonable and customary value for the health care
   23
                  services rendered based upon statistically credible information that is updated at
   24             least annually and takes into consideration: (i) the provider's training,
                  qualifications and length of time in practice; (ii) the nature of the services
   25
                  provided; (iii) the fees usually charged by the provider; (iv) prevailing
   26             provider rates charged in the general geographic area in which the services
                  were rendered; (v) other aspects of the economics of the medical provider's
   27
                  practice that are relevant; and (vi) and unusual circumstances in the case.
   28




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             28 Cal. Code Regs. Section 1300.7 1(a)(3)(B) (Emphasis added). These definitions are the
             same criteria used by California Courts to determine the quantum meruit amounts that
             should be paid for services rendered by non-contracted providers by insurers in
    El       California.
          30. Based upon these criteria, the Physicians' charges are reasonable and customary. The
    6        Physicians charged DEFENDANT the same fees that they charges all other payers.
    7     31. NAMDY is informed and believes that DEFENDANT relied upon and utilized a flawed
    8        database to make pricing determinations for the claims submitted by the Physicians on
    9        behalf of the Patient. DEFENDANT utilized that flawed database as a primary source of
   10        data upon which it based its pricing determinations, even though DEFENDANT knew
   11        that the data cannot and should not be used for that purpose. DEFENDANT was fully
   12        aware that its database was not properly designed to determine usual, customary and
   13        reasonable reimbursement amounts.
   14    32. NAMDY is informed and believes and thereon alleges that DEFENDANT's system for
   15        paying out-of-network claims is flawed, that DEFENDANT improperly manipulates the
   16        data in its systems to underpay out-of-network medical provider claims, and that
   17        DEFENDANT'S systems and methods for calculating such rates violate California law.
   18        DEFENDANT has used flawed databases and systems to unilaterally determine what
   19       amounts it pays to medical providers and has colluded with other insurers to artificially
   20        underpay, decrease, limit, and minimize the reimbursement rates paid for services
   21        rendered by non-contracted providers. The issue of flawed database has been investigated
   22       by the U.S. Congress and New York Attorney General and has been the source of
   23       numerous lawsuits and class action suits filed in connection with the databases utilized
   24       (known as Ingenix).
   25    33. NAMDY is informed and believes that there are a number of inherent flaws in
   26       DEFENDANT's database, which make that database invalid and inappropriate for setting
   27       usual, customary and reasonable rates. Among other flaws, DEFENDANT's database:
   28           a. Does not determine the numbers or types of providers in any geographic area;
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    1          b. Does not determine the actual types of procedures performed within a geographic
    2              area;
    3          c. Collects charge data which is not representative of the actual number of
    4              procedures performed within a geographic area;
    5          d. Does not collect sufficient data to enable its users to determine whether the data
    6              reflects the charges of providers with any particular degree of expertise or
    7             specialization;
    8          e. Does not collect sufficient provider-specific data to enable its users to determine
    9             whether the charges are from one provider, from several providers, or from only a
   10             minority subset of the providers in a geographic area;
   11          f. Fails to compare providers of the same or similar training and experience level
   12             and, instead, combines and averages all provider charges by procedure code
   13             without separating the charges of physicians and non-physicians;
   14          g. Does not collect patient specific information such as age or medical history or
   15             condition;
   16          It. Does not ascertain the most common charge for the same service or comparable
   17             service or supply;
   18          i. Dàes not determine the place of service or type of facility;
   19         j. Does not collect sufficient data to enable it or its users to determine an appropriate
   20             medical market for comparing like charges;
   21          k. Combines zip codes inappropriately, and uses zip codes instead of appropriate
   22             medical markets;
   23         I. Fails to compare procedures that use the same or similar resources (and other
   24             costs) to the provider but, father, indiscriminately combines all provider charges
   25             by procedure code without regard to such factors;
   26         m. Fails to compare procedures of the same or similar complexity by, among other
   27             things, failing to record or account for CPT code modifiers;
   28         n. Does not use appropriate statistical methodology;

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                    Does not properly consider charging protocols and billing practices generally
                    accepted by the medical community or specialty groups;
                    Does not properly consider medical costs in setting geographic areas;
                    Lacb quality control, such as basic auditing, to ensure the validity, completeness,
                    representativeness, and authenticity of the data submitted;
    6           r. Is subject to pm-editing by data contributors;
    7           s. Reports charges that are systematically skewed downward;
    8           t. Uses relative values and conversion factors to derive inappropriate usual,
    9               customary and reasonable amounts;
   10           u. Uses a methodology that does not comply with DEFENDANT'S contractual
   11               definition of usual, customary and reasonable; and
   12           v. Purports to be confidential and/or proprietary, which prevents access to, and
   13               scrutiny of, the data by members of their employers.
   14     34. These and other flaws render DEFENDANT'S use of its data system invalid and
   15        unlawful for determining usual, customary and reasonable rates. By systematically and
   16        typically making usual, customary, and reasonable rate determinations without compliant
   17        and valid data to substantiate its determinations, DEFENDANTS have breached their
   18        obligations to reimburse Physicians for out-of-network services. Accordingly, all past
   19        usual, customary, and reasonable rate determinations based on DEFENDANT'S data
   20        system should be overturned and disregarded.
   21    35. DEFENDANT used other improper pricing methods to reduce reimbursement to out-of-
   22        network providers. Accordingly, DEFENDANT violated, and continues to violate, its
   23        legal obligations to Physicians to pay usual, customary and reasonable rates of
   24        reimbursement for services rendered to the Patients, insureds, subscribers, and members.
   25    36. DEFENDANT has received claims from the Physicians for a number of years. As such,
   26       DEFENDANT knew the rates that the Physicians charged for various services. Moreover,
   27       DEFENDANT knew or should have known the amounts charged by other medical
   28       providers for medical services, care, and treatment, since it had received, reviewed and

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             processed, numerous claims prior to processing the claims at issue in this litigation. It is
    2        standard practice in the healthcare industry for medical providers (whether in-network or
             not) to submit claims and bills showing the total charges to health plans such as
             DEFENDANT and for DEFENDANT to price those claims, based either upon the total
             charges or the contractual rates offered to network providers.
          37. The Physicians have also been disparaged by the pervasive under-reimbursement scheme.
             When a patient refers to his/her evidence of coverage documents promulgated by
             DEFENDANTS, he/she is led to believe that when he/she seeks out-of-network care their
             charges will be paid by DEFENDANTS at the "usual and customary rate" of similar
   10        physicians for a similar service in a similar area. When a patient obtains out-of-network
   II        treatment from providers such as the Physicians and the provider submits the bill to the
   12        insurer, a patient learns for the first time that he/she will not be fully reimbursed because
   13        the doctor's charges are alleged by DEFENDANT to exceed the usual and customary
   14        rate. The physician-patient relationship is undermined, as the physicians have been
   15        branded as charlatans whose bills are inflated and unreasonable.
   16    38. At all relevant times, DEFENDANT harmed the physicians by making improper usual,
   17        customary, and reasonable rate and pricing determinations that reduced the lawful
   18        reimbursement amounts for out-of-network providers without valid or compliant data to
   19       support such determinations. DEFENDANT further harmed the Physicians by
   20       misapplying in-network policies to out-of-network provider claims, and by delaying
   21       payments to out-of-network providers under the pretext of negotiation. As a result of
   22       these actions, the Physicians were financially harmed and forced to exhaust significant
   23       time and resources appealing DEFENDANT's unlawful determination through a process
   24       deliberately designed to deny, delay, and impede out-of-network physician providers
   25       from obtaining their rightful reimbursement.
   26    39. Upon information and belief, DEFENDANT used and continues to use flawed database
   27       data, among other sources, to understate the true market rates of medical care performed
   28       by out-of-network providers. The improper use of this data has caused both patients and

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             out-of-network providers to experience significant losses. Patients are harmed because
             payers like DEFENDANT are not reimbursing out-of-network services at appropriate
             levels, which results in out-of-network providers increasingly billing their patients for
             amounts charged, which exceed the amounts DEFENDANT covers. Out-of-network
            providers like Physicians are harmed because they are not always able to collect these
    6        balances from patients and are forced to take a loss for their services. Moreover, because
    7       out-of-network providers are often unaware of the scheme that results in payers like
    8       DEFENDANT failing to pay appropriate usual, customary and reasonable rates, they are
    9       either powerless to appeal any such improper determinations or their efforts to appeal
   10       these determinations are futile. DEFENDANT, by contrast, benefits from paying out-of-
   11       network providers at below market rates. If, for example, out-of-network providers fail to
   12       realize that the scheme is the cause of their underpayment, DEFENDANT has unlawfully
   13       retained money which otherwise belongs to the Physicians for the services provided.
   14       DEFENDANT's ambiguity regarding its method for calculating usual, customary and
   15       reasonable rates reflects its participation in this deceptive practice.
   16    40. DEFENDANT's explanation of benefit statements are initially uninformative, false, and
   17       misleading regarding the use of usual, customary, and reasonable rates. This ambiguity
   18       has resulted in the inconsistent application of usual, customary and reasonable rates to
   19       deny Physicians their lawful reimbursement. Usual, customary, and reasonable rates
   20       should be applied consistently by DEFENDANTS, but instead are selectively used to
   21       deny or diminish lawfil reimbursement to Physicians and other out-of-network providers.
   22    41.The Physicians' explanation of benefits and remittance advices received from
   23       DEFENDANTS often state that their billed charges purportedly exceed the usual,
   24       customary, and reasonable rate for the geographic area where the services were
   25       performed. However, nowhere on the explanation of benefit statements, remittance
   26       advices, or elsewhere in any other correspondence sent to the Physicians do
   27       DEFENDANTS discuss or identify how they actually calculate usual, customary, and
   28       reasonable rates. The Explanation of Benefit statements do not even specify whether

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             database data or some other methodology was used in these calculations. Instead, the
    2        explanation of benefit statements plainly state that the rates have been determine by
             DEFENDANTS. With its methods for calculating usual, customary, and reasonable rates
             shrouded in a veil of secrecy, DEFENDANTS have been able to derive improper rates
             using faulty data, and apply them to out-of-network providers such as the Physicians.
                                        FIRST CAUSE OF ACTION:
    7              FOR RECOVERY OF PAYMENT FOR SERVICES RENDERED
    8                               (AS AGAINST ALL DEFENDANTS)
    9     42. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set
   10        forth herein.
   11     43. At all times herein mentioned, Physicians provided medical services, care, treatment,
   12        and/or procedures to Patients as required by law (because the medical services provided
   13        were emergency services), thereby benefiting DEFENDANTS and the Patients.
   14    44. At all times herein mentioned1 DEFENDANTS were required by law to pay usual,
   15        reasonable, and customary rates for the emergency care provided by the Physicians to the
   16        Patients, who were members or subscribers of DEFENDANT. California Health and
   17        Safety Code § 1371.4; Bell v. Blue Cross, 131 Cal.App.4th 211.
   18    45. At all relevant times, the Physicians rendered care, treatment, and services to the Patients
   19        in good faith and in reliance upon the legal requirement that insurers pay for the
   20        emergency medical care of those they insure. DEFENDANTS had a duty to pay,
   21        reimburse, indemnify, and cover the Physicians for the care, treatment and services
   22        rendered by the Physicians to the Patients pursuant to California Health & Safety Code
   23        H 1371, 1371.35, and 1371.4 following the rendition of services and treatment by the
   24        Physicians to the Patients. Further, DEFENDANTS had a duty to pay usual, customary,
   25        and reasonable rates for the services rendered by the Physicians in compliance with 28
   26        California Code of Regulations § 1300.71 et seq. For the Patients, DEFENDANTS have
   27        failed and refused to comply with 28 California Code of Regulations § 1300.71 et seq.
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          46. At all relevant times, the Physicians rendered care and treatment to the Patient.
    2        DEFENDANT had a duty to pay, reimburse and cover the cost of such treatment and
    3        services by payment to the Physicians for the medical services, care, treatment, and/or
    4        procedures rendered by. the Physicians to the Patients, pursuant to California Health &
    5        Safety Code §§ 1371, 1371.35, and 1371.4, and was prohibited from denying or refusing
    6        coverage, payment, indemnity, or reimbursement for the cost for treatment and services
             rendered by the Physicians to the Patients. Further, DEFENDANTS had a duty to pay
             usual, customary, and reasonable rates for the services rendered by NAMDY' s assignor
             in compliance with 28 California Code of Regulations § 1300.71 et seq. and have failed
   10        and refused to pay usual, customary, and reasonable amounts.
   11    47. At all relevant times, 28 California Administrative Code § 1300.71 et seq. required that
   12        DEFENDANTS reimburse the Physicians for the claims submitted on behalf of the
   13        Patient within 45 days after DEFENDANTS received the Patient's claims from the
   14        Physicians. 28 Cal. Admin. Code Tit. 28 Section 1300.7 1(a)(3) defines the manner and
   15        method by which reasonable and customary rates are to be defined by DEFENDANTS,
   16        providing:
   17                 For contracted providers without a written contract and non-contracted providers,
                except those providing services described in paragraph (C) below: the payment of the
   18
                reasonable and customary value for the health care services rendered based upon
   19           statistically credible information that is updated at least annually and takes into
                consideration: (i) the provider's training, qualifications, and length of time in practice;
   20
                (ii) the nature of the services provided; (iii) the fees usually charged by the provider;
   21           (iv) prevailing provider rates charged in the general geographic area in which the
                services were rendered; (v) any unusual circumstances in the case; and
   22
                     For non-emergency services provided by non-contracted providers to PPO and
   23           POS enrollees: the amount set forth in the enrollee's Evidence of Coverage.
   24    48. As a proximate result of the violation of California Health & Safety Code §§ 1371.8 and
   25        1371, California Insurance Code § 796.04, California Insurance Code § 796.04 and/or 28
   26       C.C.R. § 13700.1 by DEFENDANT, which acts were intentional, willful and knowing,
   27        the Physicians have never been paid for any of the medical services, care, treatment,
   28       and/or procedures provided to the Patient or have been underpaid for such medical

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             services, care, treatment, and/or procedures. By their acts and omissions, DEFENDANTS
             have failed and refused to pay the usual, customary, and reasonable value for the services
             rendered by the Physicians to the Patients.
          49. The Physicians are owed reimbursement, compensation, and payment of the cost of the
             medical services, care; treatment, and/or procedures which they rendered and provided to
             the Patient at the Physicians' billed rates or at rates equivalent to the usual, customary,
             and reasonable value for their services, in conformance with the legal requirements that
             they provide emergency care to any patient and that the insurance of any patient who
    9        received emergency care pay the provider of the care at usual, customary, and reasonable
   10        rates.
   11    50. The Physicians have demanded that DEFENDANT pay for the medical treatment
   12        provided to the Patient, and has submitted statements to DEFENDANT for the medical
   13        services rendered to the Patient.
   14    51. DEFENDANTS have failed and refused to pay, and continue to refuse to pay the
   15        Physicians for such services rendered at appropriate rates and have underpaid the
   16        Physicians by failing and refusing to pay usual, customary and reasonable rates.
   17        Accordingly, there is now due and owing an unpaid sum, plus statutory interest thereon.
   18                                 SECOND CAUSE OF ACTION:
   19                 FOR RECOVERY OF PAYMENT ON OPEN BOOK ACCOUNT
   20                              (AS AGAINST ALL DEFENDANTS)
   2!    52. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set
   22        forth herein.
   23    53. DEFENDANT has become indebted to the Physicians on open book accounts for the
   24        Patients, for money due in the sum to be determined at the time of trial for medical
   25       services rendered by the Physicians to the Patients.
   26    54. The Physicians have provided medical treatment to the Patient, and have maintained
   27       contemporaneous, itemized and detailed records and statements of each medical service
   28       provided to the Patients. The Physicians have provided DEFENDANT with statements

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             itemizing the medical treatment provided to the Patients, along with an accounting of the
    2        amounts owed by DEFENDANT.
    3     55. DEFENDANT has refused to pay, and continue to refuse to pay, the Physicians the billed
    4        charges submitted by the Physicians and/or the usual and customary charges owed to the
    5        Physicians for the treatment, surgeries, procedures and medical services provided to the
    6        Patients. Accordingly, there is now due and owing an unpaid sum in an amount to be
             determined at the time of trial, plus statutory interest.
                                       THIRD CAUSE OF ACTION:
    9                                    FOR OUANTUM MERU1T
   10                                 (AGAINST ALL DEFENDANTS)
   11     56. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set
   12        forth herein.
   13     57. As required by law (because the medical services provided were emergency services), the
   14        Physicians provided surgeries, procedures, medical treatments, and other medical
   15        services to the Patients, thereby benefitting DEFENDANT and the Patients.
   16     58. DEFENDANTS have failed and refused to pay the Physicians the appropriate amounts
   17        incurred by the Physicians in rendering medical services, care, treatment, and/or
   18        procedures to the Patients, have underpaid those costs and have failed and refused to pay
   19        the usual, reasonable, and customary costs of those services.
   20     59. At all times herein mentioned, DEFENDANTS were required by law to pay usual,
   21        reasonable, and customary rates for the emergency care provided by the Physicians to the
   22        Patients, who were members or subscribers of DEFENDANT. California Health and
   23        Safety Code § 1371.4; Bell p. Blue Cross, 131 Cal.App.4th 211.
   24    60. DEFENDANT is required to reimburse the Physicians at a quantum meruit rate for all
   25        services rendered to the enrollees, the Patients. The quantum meruit amount owed by
   26        DEFENDANT to the Physicians is determined according to the customary charges that

   27        would be billed by the Physicians and/or other physicians in the absence of preferred
   28        provider or participating provider contractual rates. Based upon DEFENDANTs request

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             that the Physicians render treatment, surgeries, procedures and medical services to the
    2        Patient, and the fact that DEFENDANT was benefitted by the provision of such services
    3        by the Physicians, an obligation on the part of DEFENDANT to make restitution to the
    4        Physicians arose.
    5     61. The quantum meruit rate for the medical treatment the Physicians provided to the Patients
    6        is an amount to be determined at trial. This amount represents the usual, customary and
             reasonable cost or charge for the services rendered by the Physicians. The Physicians
             have submitted statements to DEFENDANT for these amounts, and have made repeated
             demands that they be paid for the medical treatment provided to the Patient at usual,
   10        customary, and reasonable rates.
   11    62. DEFENDANT has refused to pay, and continues to refuse to pay, the Physicians for the
   12        whole or any part of the sums owed to the Physicians for the treatment, surgeries,
   13        procedures and medical services provided to the Patient, at usual, customary and
   14        reasonable rates. Accordingly, there is now due and owing an unpaid sum, plus statutory
   15        interest.
   16                                FOURTH CAUSE OF ACTION:
   17                            FOR BREACH OF IMPLIED CONTRACT
   18                              (AS AGAINST ALL DEFENDANTS)
   19    63. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set
   20        forth herein.
   21    64. NAMDY is informed and believes and thereon alleges that, at all relevant times herein,
   22        the Patients had valid policies with DEFENDANT or were members, subscribers,
   23        insuieds, or were otherwise entitled to coverage, indemnification and payment as
   24        policyholders or certificate-holders of insurance policies and certificates issued and
   25        underwritten by DEFENDANT.
   26    65. NAMDY is informed and believes that the Patients obtained such policies from
   27        DEFENDANT for the specific purposes of (1) ensuring that the patients would have
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             access to medically necessary treatments at healthcare facilities, and (2) ensuring that
    2        DEFENDANT would pay for the healthcare expenses incurred by the patients.
             DEFENDANTS knew or reasonably should have known that its insureds would seek
    4        medical treatment from the Physicians.
             NAMDY is informed and believes that DEFENDANT received and continues to receive
             valuable premium payments from the Patients under the relevant insurance policies.
             Since Physicians were required by law to treat the Patients in emergency situations, they
             agreed by implication to treat the Patients. DEFENDANTS, by law, were required to pay
             Physicians at the usual, customary, and reasonable rate for emergency services and
   10        therefore agreed by implication to pay usual, customary, and reasonable rates to
   11        Physicians. California Health and Safety Code § 1371.4; Bell Y. Blue Cross, 131
   12        Cal.App.4th 211.
   13     69. In consideration for the Physicians' implied agreement to treat the Patients,
   14        DEFENDANT implicitly agreed to reimburse the Physicians for the expenses incurred by
   15        the Patients in the course of being treated and undergoing surgeries or procedures
   16        rendered by the Physicians and agreed io pay the Physicians a usual and customary rate
   17        for those services.
   18     70. The Physicians provided medical treatment to the Patient. DEFENDANT has refused to
   19        pay, and continues to refuse to pay, the Physicians for the whole or a part of the sums
   20        owed to the Physicians at appropriate rates for the treatment services provided to the
   21        Patients.
   22     71. As a result of the foregoing breach, the Physicians have been damaged by DEFENDANT
   23        in an amount to be determined at trial. Accordingly, there is now due and owing an
   24        unpaid sum, plus statutory interest thereon.
   25                                  FWH CAUSE OF ACTION:
   26                                 FOR DECLARATORY RELIEF
   27                              (AS AGAINST ALL DEFENDANTS)
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          72. Plaintiffs incorporate all allegations set forth in the above paragraphs as though fully set
             forth herein.
    3     73. A dispute has arisen between the Physicians and DEFENDANT as to the amount that
    4        DEFENDANT is required to pay the Physicians for the medically necessary services
    5        provided by the Physicians to the Patients. DEFENDANT contends that it owes the
    6        Physicians nothing in connection with the services, surgeries, and procedures provided to
             the Patients. The Physicians contend that they are entitled to receive payment in an
             amount to be determined at trial, plus statutory interest, for the medical services provided
             to the Patients during the course of their treatment.
   10     74. NAMDY seeks and desires a judicial determination by the Court that DEFENDANT is
   11        required to pay the Physicians for the services, surgeries, procedures, and other medical
   12        treatments provided to the Patients during the course of their treatment by the Physicians
   13        at the billed or total rates charged by the Physicians.
   14    75. Such a declaration is necessary and appropriate at this time so that the Physicians and
   15        DEFENDANT may ascertain their rights, duties, and obligations concerning the medical
   16        services the Physicians provided to the Patients.
   17                                  SIXTH CAUSE OF ACTION:
   18                                   FOR NEGLIGENCE PER SE
   19                              (AS AGAINST ALL DEFENDANTS)
   20    74. Plaintiffs incorporate by reference all previous paragraphs as though fully set forth
   21        herein.
   22    75. At all times herein mentioned, DEFENDANTS were required by law to pay usual,
   23        reasonable, and customary rates for the emerjency care provided by the Physicians to the
   24        Patients, who were members or subscribers of DEFENDANT. California Health and
   25        Safety Code § 1371.4; Bell v. Blue Cross, 131 Cal.App.4th 211.
   26    76. DEFENDANTS have a duty to pay, reimburse, indemnify, and cover the Physicians for
   27        the medical services, care, treatment, and/or procedures rendered by the Physicians to the
   28        Patients pursuant to California Health & Safety Code % 1371.1,1371.8, and/or

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             California Insurance Code § 796.04 following the rendition of services and treatment by
             the Physicians to the Patients. Further, DEFENDANTS had a duty to pay usual,
             customary, and reasonable rates for the services rendered by the Physicians in
    4        compliance with 28 California Code of Regulations § 1300.71 et seq. For the Patients,
    5        DEFENDANTS have failed and refused to comply with 28 California Code of
    6        Regulations § 1300.71 et seq.
    7     77. DEFENDANTS have a duty to pay, reimburse, compensate, cover and indemnify the
    $        Physicians at their billed rates or at usual, customary, and reasonable rates for the
    9        services, treatment, care and pharmaceuticals rendered by the Physicians to the Patients
   10        in compliance with the legal requirement that insurers cover emergency medical care
   11        provided to those they insure. Such duties arose by virtue of California Health & Safety
   12        Code § § 1371.8, 1371.1, and 1371.4, by virtue of California Insurance Code § 796.04 and
   13        by virtue of 28 California Code of Regulations § 1300.71 et seq.
   14     78. Each of the statutes herein mentioned was intended to prevent, prohibit, and preclude the
   15        type of damage suffered and sustained by the Physicians. Each of the statutes herein
   16        mentioned was intended to prevent, prohibit, and preclude DEFENDANTS from failing
   17        and refusing to pay, compensate, reimburse, cover, and indemnify the Physicians for the
   18        medical services, care, treatment, and/or procedures they provided to the Patients and
   19        from being underpaid by DEFENDANT for such medical services, care, treatment,
   20        and/or procedures.
   21    79. The Physicians are members of the class of persons and/or entities to be protected by
   22        these statutes, since they were "providers" of medical care, which rendered health care
   23        services in good faith to DEFENDANTS' members, subscribers, and insured the Patients.
   24        DEFENDANTS were regulated by California law and are subject to California Health &
   25        Safety Code § § 1371.1, 1371.4 and 1371.8, California Insurance Code § 796.04 and 28
   26        California Code of Regulations § 1300.71 et seq.
   27    80.As a proximate result of the violation of California Health & Safety Code §§ 1371.1,
   2$        1371.4, and 1371.8, California Insurance Code § 796.04 and 28 California Code of

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             Regulations § 1300.71, et seq., by DEFENDANT and of the breaches of DEFENDANT's
             duties to the Physicians, which acts were intentional, willful, and knowing, the Physicians
             have never been paid, compensated, reimbursed, indemnified, or covered for the costs of
    4        the treatment, care and services it rendered to the Patient and/or have been underpaid for
             such services. The refusal of DEFENDANT to reimburse the Physicians for the services
    6        provided to Patients insured by DEFENDANT is negligence per Se.
    7    81.The Physicians are owed reimbursement, compensation, and payment of the cost of the
    8        medical services, care, treatment, and/or procedures which they rendered and provided to
    9        the Patients at the Physicians' billed rates, in conformance with the legal requirements
   10        that they provide emergency care to any patient and that the insurance of any patient who
   11        receives emergency care pay the provider of the care at usual, customary, and reasonable
   12        rates.
   13                                   SEVENTH CAUSE OF ACTION:
   14       FOR INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
   15                             (AS AGAINST ALL DEFENDANTS)
   16    82. Plaintiff incorporates by reference all previous paragraphs as though fully set forth
   17       herein.
   18    83. For each service provided by the Physicians to each Patient, the Patient was required to
   19       pay some portion of that bill as part of their deductible, as their coinsurance amount,
   20       and/or as their co-pay.
   21    84. The explanation of benefit forms provided by DEFENDANT to both the Patients and the
   22       Physicians lists an "allowed amount" for each medical service to each Patient. It is the
   23       monetary amount that DEFENDANT unilaterally determined the services would be
   24       reimbursed at.
  25     85. The allowed amount was significantly lower than the billed amount for each service for
  26        each Patient.
  27     86. The Patients, rather than paying their portions (deductible, coinsurance, and/or co-pay) of
  28        the billed amounts, only paid their portions of the allowable amount.

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    1      87. As a result, the Physicians received less money from the Patients than they would have if
    2         the patients had not been, in effect, told by DEFENDANT to pay at amounts lower than
    3         the billed amount.
    4      88. DEFENDANT acted wrongfully by unilaterally determining the rates to be paid for each
    5         service, by determining rates that were below usual, customary, and reasonable rates, and
    6         by convincing the Patients to pay at the lower "allowed" amounts via their explanation of
    7         benefits forms.
    8     89. DEFENDANT was aware of the economic relationship between the Physicians and the
    9         Patients because DEFENDANT knew that the Physicians treated the patients and knew
   10         that the Patients would have to pay some portion of the bills for the medical services
   11         provided by the Physicians.
   12                                       PRAYER FOR RELIEF
   13         WHEREFORE, Plaintiff NAMDY CONSULTING, INC. prays for judgment against
   14 DEFENDANT as follows:
   15     1. For compensatory damages in an amount to be determined, plus statutory interest;
   16     2. For restitution in an amount to be determined, plus statutory interest;
   17     3. For a declaration that ANTHEM and BLUE SHIELD are obligated to pay plaintiff all
   18         monies owed for medical services rendered to the Patient; and
   19     4. For such other further relief the Court deems just and appropriate.
   20
   21   DATED: October 17, 2017                             Respectfully submitted,
   22
   23                                                 By:
   24                                                       ALAN NESBIT, Esq.
   25                                                       Attorney for Plaintiff
                                                            NAMDY CONSULTING, INC.
   26
   27
   28

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                                    DEMAND FOR JURY TRIAL
    2   Plaintiff, NAMDY CONSULTNG, INC. hereby demands ajury trial as provided by law.
    3
    4   DATED: October 17, 2017                        Respectfully submitted,
    5
    6
                                                 By:    A - N'J'~t
    7
                                                       ALAN NESBIT, Esq.
    8
                                                       Attorney for Plaintiff
    9                                                  NAMDY CONSULTING, INC.
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               REzAC.MEY.ER                                          Los Angeles, CA 90026
               ATTORNEY SERVICE                                      Phone: (213) 481-1770 Fax: (213) 481-9957
                                                                                              -




     Date Received: November 02, 2017                                                                            **
                                                                                                                      DOUGLAS FORREST
          Client No: 3146                          STAN DARD                                        Due Date:
                                                                                                    Status By:   111312017
             Client: NESBIT LAW GROUP
                                                                                              Last Day to Sub:
                       8383 WILSHIRE BLVD., SUITE 800            .
                                                                                                 Reference #:    U500019
                       BEVERLY HILLS, CA 90211
                                                                                                     Contact:    LINDA LAVALLEE
                       (323) 456-8605 (323) 456-8601
                                                                                               Contact Phone:    (323) 456-8605
          Case No: BC680021
                                                                                                      Order#:    LA219797
              Court: LOS ANGELES COUNTY SUPERIOR COURT
            Plaintiff: NAMDY CONSULTING. INC.
      vs Defendant: ANTHEM BLUE CROSS LIFE AND HEALTH INSURR?d8!0h15.
            Servee: BLUE SHIELD OF CALIFORINA
  Business Address: CT CORP
                       818W 7TH STREET, #930
                       LOS ANGELES, CA 90017
                                                                                                                             7
           Documents: Summons; Complaint; Civil Case Cover Sheet; Civil Case Cover Sheet Addendum and Statement of LocatIon; Notice of
                      Case Assignment- Unlimited Civil Case;




  DATE            TIME                           NOTES FROM DOUGLAS FORREST




Physical Description:
   Age:                      Height:                     Skin:                        Hair:
                                                                                                                 C Personal Service
    Sex:
  Marks:
                             Weight:                     Eyes:
                                                                                                                 [I] Substituted Service
                                                                                                                 [1 Not Served
 Served To:                   .                                          Tutle/Rel:
 ServedAt: _________________________________________                         Date:
                                                                            Time:



                                                                          Server:

                                                                                                                             order N; LA2I9797IWORI(P
Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 36 of 122 Page ID #:46



                                            SUMMONS                                                          I               FOR COURT USE ONLY
                                                                                                                          ISOLO AARA USODE LA COfifflu
                                   (CI TA CION JUDICIAL)                                                      COIWOgMØ COPY
                                                                                                          J
  NOTICE TO DEFENDANT:                                                                                           ORIQJNAL P11.00
                                                                                                          I SI
                                                                                                               uRsdOr Dint of Calllbrngrg
  (A V/SO AL DEMANDADO):                                                                                  I County ml Ip Amr'qf'n
  ANTHEM BLUE CROSS LIFE AND HEALTH INSURANCE CO.
  AND BLUE   SHIELD OF CALIFORNIA AND DOES 1-40                                                                          OCT-I .82017
  YOU ARE BEING SUED BY PLAINTIFF:
                                                                                                                     II, Ca$ez Saunwu OttIcXtsg
  (LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                                     SllWGtta Robinson, Deputy
  NAMDY CONSULTING, INC.


   below.
     You have 30 CALENDAR DAYS after this summons and legal papera are served on you to file a written response at this court and have a copy
   servad on the plaintiff. A letter or phone cell will not protect you. Your written response must be In proper legal form If you want the court to hear your
   case. There may be a court form that you can use for your response. You can find these court forms and more Information at the California Courts
   Ontlna Sell-Help Center (www.coudlnfo.ca.gowtel/holp).your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
   the court dark for a fee waiver form. If you do not file your response on lime, you may lose the case by default, and your wages, money, and properly
       There are other legal requirements You may want to call an attorney right away. If you do not know an attorney, you may want to caftan attorney
   referral seMce. If you cannot afford on attorney, you may be etigiblo for free legal services from a nonprofit legal services program. You can locate
   those nonprofit groups at the California Legal Services Web site (wavjawheipcalifomit 019). the California Courts Online Sell-Help Center
   (www.eowt4yfo.cagoweIThalp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for welved fees and
   costs on any settlement or arbItration award of $10,000 or more In a clvii case. The court's nan must be paid before the court will dismiss the case.
  IA VISOl to hen denlandadoh Si no responde datum ste 30 dies, Is code pusdb dddfr an su contra sin escuchat so vera/dir. Lea Is bpfonnacldna
  conhinuacldn.
     flea. 300/AS OS CALENOARIO despuEs do quota en Vega en eats cites/On ypepeles legates pare presenter una zespuesta pot esotic en asia
  code yha car qua so enlmgue irate tepEe at tlaniandente. Una coda 0 una llamada tote (dance no to protegen. Su respuesta pa, escdio Uene qua ester
  an fomrato legal condo at dana qua pmceaen su case an to code. Es pan/his qua hays un (annulado qua usladpueda user pare sir raspuesta.
   Puede anconitar estos fonnulariosde to cotta ynids in format/On on or ten ho SAyuda Ce /as Codes Ce California twww.sucone.ca.govi, an to
  MMCIace ste/ayes ste su condedo o en/a cotta quo to quests reds carte. S/no puada pa gar Ia atone ste pjesenlaclOn. piCa at secreteS date cotta
  qua to dO un fonnulado S oxendOn depago Ce arotea SI no presantu su ,espuesta a fiampo. puadeperderel caso pot hicwnpflmlanlo yla cotta to
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  sam/aMa a ebogadot SI no pusS pager a un abogaft aspoalbie qua cumpla con los requisites pars obtenarsesv/des legates gielullos do un
  pregame de sesvtclos legates sin fines Ce lucre. Priests enconlrerestos grupos if, lines ste latin an aislilo web c's Cel/fernla Legal Services,
  (Www.lawhelpcalIfornla.oraj, on at Centre do Ayuda Ce las tortes Ce Cal/faints, ftvww.aucorte.ca.gov) oponldndoso an contacts coals code aol
  coleg/o Sabogados locales. AVISO Parley, Ia cotta f/one derecho a reclemar lee cuotas ytes con/os axentos per irnpo.ner on gravaman sobta
  cuatquler recuperatiOn do 310,0006 mOe do valor recibida maCbate on ecuesdo a tine ounces/On dl atbifre/s en on case ste derecho cM!. Vane qua
  pagerS gtavemen ste to cotta entos do qua Is code pueda desachare!cesa'

                                 Los Angeles Superior Court; Central Dist
 (àinomórej' dbrecciOn do/a code en):
  111 North Hill Street, Los Angeles, California 90012

 The name. address, and telephone number of plaIntiffs attorney, or plaintiff without an attorney, Is:
 (El nombre, Is direction y & nDmam do teiOfono del ebogado del dernandante, o del demondante qys no f/one ebogado, as):
 Alan Nesbit, Esq,         8383 Wilshire Boulevard, Suite 800, Beverly Hilts, Californi4I I
                                  sswm R. CARrER
 DATE:         OCT 16 aol?                                                       Clerk, by                                                           .   Deputy.
     - .   .                                                                     .           ,..         a.      .




                do enfrega do esta cite f/on use of form u/a rio Proof of Service of Summons, (POS.OIQ
                                      NOTICE TO THE PERSON SERVED: You are served
  §EAq
                                      1. (fl) as an individual defendant.
                                      2.      as the person sued under the fictitious name of (spec/4'):
                                                                            -I



                                        'n bet all of (SD8CiM/61UP.SAtPk4                           ot (oi ãktx ri'.v1
                                                                                                     -   -



                                           under:          CCP 416.10 (corporation)                                    CCP 416.60 (minor)
                                                    C      CCP 416.20 (defunct corporation)                       J    CCP 41630 (conservatee)
                                                    (J     CCP 416.40 (association or partnership)               [J    CCP 416.90 (authorIzed parson)
                                                    IflI other (specify):
                                       .   ri by narsonal rtalivery on iSle):
                                                                                                                                                     Pans lefl
 FnMapced ra Mandr.aw Use                      -                        SUMMONS                                                   codeotctaaracaeasggllt2o.les
    UcbJ csundlctcetronda                                                                                                                      UMMAKOftexam
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Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 37 of 122 Page ID #:47


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      Itf*jii                                                                                                        ORIGINAL PILED
                                                                                                                  Superior Court of oaiifornla
                                                                                                                    County of Los Anoelos
                                                          FAXNO. 323.456.8605

       ERR COURT OF CALIFORNIA. COUNTY OF LOSA
                                                                                                                         OCT 182017
        5WEBTADZRESt 111 North Hills Street
        mAtualAconEsm   Same                                                                                 Shisil R. ISIs,, exesutivo Olticw/l
       oivAlw2floe Los Angeles, CA 90012                                                                      Ry morfette Robinson, Deputy
     CASE NAME:
                                        Blue Cross LI%
                                                                                 ICASE NUMBER:
 I   CIVIL CASE COVER SH   EET           I      áomplex Case oeslgnation                 Be 6                             8" U h I
 I
   (7] Unlimited
       (Amount
                     C] Umited
                        (Amount
                                         I
                                         j
                                                 counter              Joinder                        I
 I     demanded         demanded Is i Filed with first appearance by defendant                                                                     I
 I     exceeds $25.000) $25,000 or less) j     (Cal. Rules of Court. rule 3.402) ICEFP.                                                            I   -   1-

      Check one box below for the case type that      test describes this case:
      Auto Tort                                       Contract                                  Provtslonaliy Complex Civil Litigation
                                                            Breath of contractMarranty (08)     (Cal. Rules of Court. rules 3.400-3.4031
      R     Auto (22)
            Uninsured motorist (46)
      Other PIIPDIWD (Personal InjunjIProperty
                                                      [1 Rule 3.740 collections (09)
                                                            Othef collectIons (09)
                                                                                                C] Mtltrustitrade regulatIon (03)
                                                                                                C] Construction defect (10)
                                                                                                                                                       aS
                                                                                                                                                       M




      oamageiWrongfui Death) Tort                     Li    Insurance coverage (18)             E] Mess tort (40)
      C] Asbestos (04)                                C] Other contract (37)                    C] Securities litIgation (28)
      C     Product lIability (24)                    Real Property                             C] Environmentslffoxlt tort (30)
      C] Medical malpractice (45)                     C]    Eminent domslrUlnverse              C] above
                                                                                                   Insurance coverege claims arising from the
             Other PIIPDIWO (23)                            condemnation (14)                            listed provisionally complex case
                                                      ci       ongfuievlcIlons3                          types (41)
       Non.PIIPDMID (Other) Tort
                                                            Other real property (26)            Enforcement of Judgment
         Business to,tluntalr business practIce (07)
      C] Civil rights (08)                           Unlawful Defamer                           C] Enforcement of Judgment (20)
      El Defamation    (13)                               Commercial (31)                       Mlsceilaneoue Civil Complaint
      = Fraud (16)                                    EJ  ResIdential (32)                      Cl RICO (27)
      C] Intellectual property (10)                   C   Dnigs(38)                             C] Other complaint (not aped!led above) (42)
         Professional negligence (25)                                                           Miscellaneous Civil Petition
         Other non-PIIPDMD tort (35)                      Asset forfeiture (05)                 C] Partnership and corporate governance (21)
                                                          PetitIon re: arbitration award (11)
                                                                                                C] other petition (not specified above) (43)
         Wcnglui terminatIon (36)                         Wilt of mandate (02)


 2. This case Li Is (U is not complex under rule 3.400 of the California Rules of Court. If the case Is complex, mark the
     factors requiring exceptional Judicial management:
     a. (7] Large number of separately represented peruse
               .                                                 d. C]Large number of wilnesses
     b. C] Extensive motion practice raising difficult or novel e. C] Coordination with related actions pending In one or more courts
              Issues that will be time.consuming to resolve              In other counties, states, or countries. or In a federal court
     a        Substantial amount of documentary evIdence         I. C]   Substantial postjudgment judicial supervision
 3. Remedies sought (check all that p: a.[7] monetary b.C] nonmonetary; declaratory or injunctive relief cC]punitive
 4. Number of causes of action (specify):
 5. This case C] is Fills not a class action suit.
 6. lithere are any known related casee, fda and serve a notice of related case. (You max use form CM-015.)
 Date: October 17,2017
                            Alan Nesbit
                           rSVP! PRINT NNM

     • Plaintiff must file this cover sheet with the first paper flied In the action or proceeding (except small claIms cases or cases filed
        under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court. rule 3.220.) FaIlure to file may result
        In sanctions.
     • File this cover sheet in addition to any cover sheet requIred by local court rule.
     • If this case Is complex under rule 3.400 at seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
        other parties to the action or proceeding.
     • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes on
Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 38 of 122 Page ID #:48



    SHORT                                                                                                      NUMBER
            1UL%IPLMDY V. ANTHEM BLUE CROSS HEALTH AND LIFE INS.                                       ( cae

                                CIVIL CASE COVER SHEET ADDENDUM AND
                                        STATEMENT OF LOCATION
                 (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

I               This form Is required pursuant to Local Rule 2.3 In all new cMI case filings In the Los Angeles Superior Court.



       Step 1:      After completing the Civil Case cover Sheet (Judicial Council form CM-OlD), find the exact case type In
                    Column A that corresponds to the case type Indicated In the Civil Case Cover Sheet.

       Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

       Step 3: in Column C, circle the number which explains the reason for the court filing location you have
               chosen.

                           I               Applicable Reasons for Choosing Court FIlIng Location (Column C)

    Class actions must be flied In the Stanley Mosk Courthouse. Central DistrIct.       7. Location where petitioner resides.
    Pennlselve fifing In central district.                                              S. Location wherein defendantftespondent functions wholly.
    Location where cause of action arose.                                                  Location where one or more of the parties reside.
    Mandatory personal lrrjunj filing In North Dislrtol.                                   Location of Labor CommIssioner Office.

    Location where performance required or defendant resIdes.
                                                                                                                              -
                                                                                           Mandatory filIng location (Hub Cases unlawful detalnor, limIted
                                                                                       non-collection, limited collection, or personal Injury).
    Location of property or permanently garaged vehicle.




                       Jvflcasäcoyer.fleffl'jt                      t&                       pqt*                          ::::tVr     :pp1Iâebqük..

                               Auto (22)             0 A7100 Motor Vehicte• Personal InJuryIPrOpeity Damageongftfi Death               1,4.11
     2t
    412              Uninsured Motorist (46)         0 A7110 Personal InJury1Propetty DamsgeIon9fu1Death— Uninsured Motorist            1, 4. 11

                                                     0 A6070 AsbestosPmpettyDamage                                                      1,11
                          Asbestos (04)
                                                     o A7221 Asbeslos Personal lnjwymrongfiil Death                                     1.11
     .Elt
     a,!
                       Pruducl Liability (24)        0 AMC Product Liability (not asbestos or toxlc/enwronmentel)                       1,4.11

                                                     o A7210 Medical Malpractice. Physicians & surgeons                                 1.4.11
                     Medical MalpractIce (45)                                                                                           1. 4. 1 1
    ii                                               o A7240 Other ProfessIonal Health Care Malpractice
     cc
                                                     o A7250 Premises Uabliuty (e.g.. slip and faIl)                                    1 4 11
                         Other Personal
                         Injuty Property             a A7230 intentlonal6odllylrijuiyIPropertyDamageOngM Death (e.g..                  1 4.11
                        oamageWronghil                           assaull. vandalism, etc.)
    r.                                                                                                                                  1.4.11
                            Death                    0 A1270 intentional Infliction of Emotional Distress
                                                                                                                                        1,4.11
                                                     o A7220 Other Personal irguryIPropedyOamageongM Death




    LACIV log (Rev 2116)                           CIVIL CASE COVER SHEET ADDENDUM                                                   Local Rule 2.3'
    I.AscAppmvsow                                     AND STATEMENT OF LOCATION                                                        Page 1 of 4


                                                                                                                                                    a
 Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 39 of 122 Page ID #:49

SHORT TITLE:                                                                                 I CASE NUMBER
               NAMDY V. ANTHEM BLUE CROSS HEALTH AND LIFE INS.



                           A                                                         B                                               C Applicable
                  CMI Case Cover Sheet                                          Type of Action                                    Reasons- See Step 3
                      Category No.                                             (Check only one)                                         Above

                    Business Tout (07)         0 *6029 Other CommerciallBusiness Ton (not fraudlbreach of contract)               1. 2, 3


   0I                CMI Rights (08)           0 *6005 CMI RightslDiscriminatlon                                                  1, 2,3

        0
        2            Defamation (13)           0 *6010 Defamation (slander/libel)                                                 1. 2, 3

   --I--
   C WI                 Fraud (16)             0 A6013 Fraud (no contract)                                                        1,2,3
   —c
   o                                           0 *6017 LegalMalpractice                                                           1.2,3
               Professional Negligence (25)
  R- ci                                        0 *6050 Other Professional Malpractice (not medical or legal)                      1.2, 3
  ow
                        Other (35)             0 *6025 Other Non-Personal Injury/Property Damage tort                             1. 2, 3


                 Wrongful termination (36)     0 A6037 Wrongful Termination                                                       1, 2. 3


    1a
     E
                  Other Employment (15)
                                               0 A6024 Other Employment Complaint Case
                                               0 A6109 Labor Commissioner Appeals
                                                                                                                                  1,2.3
                                                                                                                                  10
    'Li

                                               0 *6004 Breach of Rental&ease Contract (not unlawful detainer or wrongful          2,
                                                          eviction)
                Breach of Contract! Warranty                                                                                      2,5
                            (06)               0 A6008 ContractMarranty Breach -Seller PlaIntiff (no fraud/negligence)
                      (not insurance)                                                                                             1.2, 5
                                               0 *6019 Negligent Breach of ContractWarranty (no fraud)
                                                                                                                                  1, 2. 5
                                               0 A6028 Other Breach of Contiactmarranty (not fraud or negligence)

    t                                          Cl *6002 Collections Case-Seller Plaintiff                                         5.6, 11
                      Collections (09)
     C                                         0 A6012 Other Promissory Note/Collections Case                                     5,11
    C-,
                                               o A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5. 6. 11
                                                           Purchased on or after January_1._2014)
                 Insurance Coverage (18)       13 *6015 Insurance Coverage (not complex)                                          1,2.6.8

                                               o *6009 Contractual Fraud                                                          1,2.3.5
                    Other Contract (37)        0 *6031 Tortlous Interference                                                      1,2.3.5
                                               o *6027 Other Contract Dlspute(not breach/Insurance/fraud/neglIgence)              1. 2, 3. 8, 9

                  Eminent DomaIn/Inverse       o   *7300 Eminent Domain/Condemnation                Number of parcels______       2.6
                    Condemnation (14)




     03            Wmnfld Eviction (33)        0 A6023 Wrongful Eviction Case                                                     2,6
     0-
     2
    0
                                               0 *6018 Mortgage Foreclosure                                                       2,6
     ci
                 Other Real Property (26)      0 *6032 Quiet Title                                                                2.6

                                               o *6060 Other Real Property (not emInent domain, landlord/tenant, foreclosure)     2.6

               Unlawful Detalner-Commerclal    0 *6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)    -         6. 11
     C
               Unlawful Detainer-Residential                                                                                      6.11
                                               0 *6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)
    o
    3               Unlawful Detainer-                                                                                            2.6, 11
                                               0 A602oFUnIawful Detainer-Post-Foredosure
                   Post-Foreclosure (34)
               Unlawful Detainer-Drugs (38)    0 *6022 Unlawful Oetalner-Drugs                                                    2. S. 11



 LACIV 109 (Rev2116)                           CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3

 LASC Approved 0344                               AND STATEMENT OF LOCATION                                                       Page 2 of 4
 Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 40 of 122 Page ID #:50

SHORT TITLE                                                                                      I CASE NUMBER
                 NAMDV V. ANTHEM BLUE CROSS HEALTH AND LIFE INS.


                                A                                                         B                                 C Applicable
                     Civil Case Cover Sheet                                          Type of Action                      Reasons See Step 3
                                                                                                                                       -


                           Category No.                                             (Check only one)                           Above

                      Asset Forfeiture (05)        0 A6108 Asset Forfeiture Case                                         2. 3. 6

                   Petition re Asbltration (11)    0 A6115 Petition to CompellConfirmflacate Nbitratlon                  2.5

                                                   0 A6151 Writ Administrative Mandamus
                                                                   -                                                     2.8
                      Writ of Mandate (02)         0 A6152 Writ Mandamus on limited Court Case Matter
                                                                   -                                                     2
    :g
    '0
                                                   0 A6153 Wilt Other Limited Court Case Review
                                                                   -                                                     2
    -,




                   Other Judicial Review (39)      0 A6150 Other Wilt IJudicial Review                                   2,8


                 Antitrust/Trade Regulation (03)   0 A6003 Antitrust/Trade Regulation                                    1. 2, 8
        C
        0
                    Construction Defect (10)       0 A6007 Construction Defect                                           1.2.3

                   Claims Involving Mass Tort                                                                            1, 2. 8
                                                   o *6006 Claims Involving Mass Tort
    0.                        (40)
    E
    0               Securities litigation (28)     0 *6035 SecurIties litigation Case                                    1. 2.8
    o

        C                  toxic Tort
        o              Environmental (30)
                                                   o   A6036 Toxic Tort/Environmental                                    1.2,3.8
    Ja
                  Insurance Coverage Claims        0 *6014 Insurance Coverage/Subrogation (complex case only)                 2, 5,8
                    from Complex Case (41)

                                                   o   A6141 SisterStateJudgment                                         2,5.11
                                                   o   *6160 Abstract of Judgment                                        2.6
  0I5)                                                                                                                   2.9
  E E                     Enforcement              0 A6107 ConfessIon of Judgment (non.domestic relations)
  a, a)
  e n                   of Judgment (20)           0 *6140 Administrative Agency Award (not unpaid taxes)                2.8
  C                                                 0 *6114 PetitionlCertlflcate for Entry of Judgment on Unpaid Tax     2,8
  Ui 0
                                                   o   A6112 Other Enforcement of Judgment Case                               8, 9

                           RICO (27)               0 *6033 Racketeering (RICO) Case                                      1,2.8

   0    '                                          0 *6030 Declaratory Relief Only                                       1,2,8

                       Other Complaints            0 *6040 Injunctive Relief Only (not domestic/harassment)              2.8
         o
   a,              (Not Specified Above) (42)      0 *6011 Other Commercial Complaint Case (non-tort/non-complex)        1,2, 8
                                                   0 *6000 Other Civil Complaint (non.tortlnon-complex)                  1, 2, 8

                    Partnership CorporatIon        0 *6113 Partnership and Corporate Govemance Case                      2,8
                        Govemance (21)




                                                   o   *6121 Civil Harassment                                            2.3.9
   0I
         c
            a,
                                                   0 *6123 Workplace Harassment                                          2.3.9
                                                   0 *6124 Elder/Dependent Adult Abuse Case                              2. 3. 9
  .5 IL               Other Petitions (Not
   U                 Specified Above) (43)         0 *6190 Election Contest                                              2
  a
     6                                             0 *6110 Petition for Change of Name/Change of Gender                  2.
                                                   o   *aiio Petition for Relief from Late Claim Law                     2,3.8
                                                   o   *6100 Other Civil Petition                                        2.9




 LACIV1O9 (Rev 2/16)                               CIVIL CASE COVER SHEET ADDENDUM                                     Local Rule 2.3
L*sc Approved 0344                                    AND STATEMENT OF LOCATION                                          Page 3 of 4
     Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 41 of 122 Page ID #:51

I   SKORTTITLE:                                                                         I   CASE NUMBER
                  NAMOY V. ANTHEM BLUE CROSS HEALTH AND LIFE INS.
I



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
              type of action that you have selected. Enter the address which is the basis for the filing location1 including zip code.
              (No address required for class action cases).

                                                                      ADDRESS:
      REASON:                                                        2080 Century Park East, Suite 1111
       91.02.03.04.25.06.07. 18.0 9.010. oil.



      CITY:                                 I STATE:    ZIP CODE:

      Century City                           CA         90067


Step 5: Certification of Assignment: I certify that this case is property filed in the Central                             District of
              the Superior Court of California, County of Los Angeles (Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)J.




     Dated: October 17,2017                                                                 A -f            '4
                                                                                      (SIGNATURE OF ATrORNEYIFIuNG PARfl)




     PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
     COMMENCE YOUR NEW COURT CASE:
              Original Complaint or Petition.
              If filing a Complaint, a completed Summons form for issuance by the Clerk.
              Civil Case Cover Sheet, Judicial Council form CM-010.
              Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
              02/16).
              Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
              A signed order appointing the Guardian ad Litem, Judicial Council form CIV-01 0, if the plaintiff or petitioner is a
              minor under 18 years of age will be required by Court in order to issue a summons.
              Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
              must be served along with the summons and complaint, or other initiating pleading in the case.




     LACIV 109 (Rev 2116)                  CIVIL CASE COVER SHEET ADDENDUM                                                    Rule 2.3
                                                                                                                          Local

     LASC Approved 03-04                      AND STATEMENT OF LOCATION                                                     Page 4 of 4
 Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 42 of 122 Page ID #:52


                                       SUPERIOR COURT OF CALIFORNIA, COUWVY OF LOS ANGELFS
                                 NOTICE OF CASE ASSIGNMENT UNLIMITED CIVIL CASE (NON-CLASS ACTION)
                                                                  -




                                                                           KIM   6 80 0 21
                                 ThIS FORM IS TO BR SERVED WrnflR SUMMONS AND COMPLAINT
      Your case is assigned for all purposes to the judge indicated below. There Is more information on the reverse side of this form.

         ASSIGNED JUDGE                     DEPT         ROOM         -   ASSIGNED JUDGE                       DEPT       ROOM
         lion. Debre K. Weintraub              I           534            Ron. Elizabeth Alien WhIte             48         506

         Ron. Barbara A. Meters                            636            Hon. Delrdre Hill                      49.        509

         Hon. Terry A. Green                  14           300            lIon. Teresa A. Bcaudet                50         508

         Hon. Richard Froln                   is           307            Hon. Michael J. Raphael                51         511

         Hon. Rita Miller                     16           306            Hon. Susan Bryant-Diason               52         510

         Hon. Richard E. Rico                 17           309            Hon. Howard L. Halm                    53         513

         Hon. Stephanie Bowick                19           311            Hon. Ernest M. Hiroshlge               54          512

         Hon. Dalila Corral Lyons             20           310            Hon. Malcolm H. Mackey                 55          515

         Hon. Robert L. Hess                  24           314            Hon. Michael Johnson                   56          514

         Hon. YvettoM. Palazuelos             28           318            Hon. John P. Doyle                     58          516

         Hon. Barbara Selieper                30           400            Hon. Gregory Keosian                   61          732

         Hon. Samantha Jessner                31           407            Hon. Michael L. Stern                  62          600

         HOD. DanIel S. Murphy                32           406            Ron. Mark Mooney            .
                                                                                                                 68          617

         Hon. iwlehhel P. Linfleld            34           408            Hon. William F. Fahey                  69          621

         Hon. Gregory Alarcon                 36           410            Hon. Monica Bachner                    71          729

         Hon. Marc Marmaro                    37           413            Hon. Ruth Aan Kwan                     72         131

         HOD. Maureen Duffy-Lewls             38           412            Hon. Rafael Ongkeko                    73          733

         Hon. Elizabeth Fetter                39           415            Hon. Michelle Williams Court           74         135

         Hon. David Sotelo                    40           414            Ron. Gall Ituderman Fetter             76          730

         Hon. Holly E. Kendig                 42           416

         Hon. Mel Red Recann     .            45           529              on. Steven J. xlcifield              324        CCW
                                                                          'Provislonafly Complex
         Hon. Frederick C. Shalier            46           500
                                                                          AsslgnrnentlsPendiig                   308        CCW
         Hon. Randolph Hammock                47           507

 *Complex
All non-dam acÜon cases designated as provisionally complex are forwarded to the Supervising Judge of the Complex Litigation Progriun
located In the Central Civil West Courthouse (600 S. Commonwealth Ave., Los Angeles 90005), for complexlnon-complex determination
pursuant to Local Rule 3.3(k). This procedure Is for the purpose of assessing whother or not the case is complex within the meaning of
California Rules of Court, rule 3.400. Depending on the outcome of that assessment, the case may be reassIgned to one of the judges of the
Complex Litigation Program or reasslgaed randomly to a court in the Central District.

Given to the plaintifflcross-Complalnant/AttOrney of Record on                            SHERRI U. CARTER, Exeoutive Officer/Clerk

                                                                                           By                                 .Deputy Clerk


LACIVCCH 190 Rev.12116)                            -   NOTICE OF CASE ASSIGNMENT -                                                 Page I ofl
   LASGAppmved 0546                                      UNLIMITED CIVIL CASE
   Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 43 of 122 Page ID #:53




                                                          FOR HANDLING UNLIMITED CIVIL CASES


The following critical provisions of the Chapter Three Rules, as applicable in the Central District, are summarized for your assistance.

APPLICATION

The Chapter Three Rules were effective January I, 1994. They apply to all general civil cases.

PRIORITY OVER OTHER RULES

The Chapter Three Rules shall havtpriority over all other Local Rules to the extent the others are inconsistent

CHALLENGE TO ASSIGNED JUDGE

A challenge under Code of Civil Procedure section 170.6 must be made within 15 days after notice of assignment for all purposes to a
judge, or if a party has not yet appeared, within IS days of the first appearance.



Cases assigned to the Individual Calendaring Court will be subject to processing under the following time standards:

COMPLAINTS: All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is
filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the complaint.
Counsel must be tblly prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement, trial date, and expert
witnesses.



The Court will require the parties at a status conference not more than 10 days before the trial to have tidiely filed and served all motions
in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and special jury
instructions and special jury verdicts. These matters may be heard and resolved at this conference. At least 5 days before this conferen'ce,
counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief statement of the case to be read to
the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.

SANCTIONS

The court will impose appropriate sanctions for the thilure or refusal to comply with Chapter Three Rules, orders made by the Court, and
time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party or if appropriate on
counsel forthwparty:'-      - .................. ........ .— ........................................ - .   ............................... ...............




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guarantee against the Imposition of sanctions under TrIal Court Delay Reduction. caretbl reading and compliance with the
actual Chapter Rules Is absolutely imperative.




LAdy CCI4 190 (Rev.12116)                          -.   NOTICE OF CASE ASSIGNMENT -                                        .         Page 2 of 2
    LASCApptovedO5-08                                     UNLIMITED CIVIL CASE
Case 2:18-cv-03243-SJO-MRW Document 1-1 Filed 04/18/18 Page 44 of 122 Page ID #:54




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        ALAN NESBIT, ESQ.                               Gil gnat of LOS
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        Beverly Hills, California 90211
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        Fax: (323) 456-8601                           abS R. Otiltt.
        Email: anesbit@nesbitlawgmup.com               or ailS llekll'S°. Deputy
        AU       for Plaintiff,
      6w          CONSULTING, INC.
      7
      8                SUPERIOR COURT OF THE STATE OF CALIFORNIA
      9                 COUNTY OF LOS ANGELES, CENTRAL DISTRICT
     10
                                                 CaseNo.:       80 6 80 0 21
     11
     12 NAMDY CONSULTING, INC.,                  NAMDY CONSULTING, INC'S
     13                  Plaintiff,              COMPLAINT FOR:

     14                     V.                     RECOVERY OF PAYMENT
                                                   FOR SERVICES RENDERED;
     15 ANTHEM BLUE CROSS LIFE AND                 RECOVERY ON OPEN BOOK
     16 HEALTH INSURANCE CO. AND BLUE              ACCOUNT;
         SHIELD OF CALIFORNIA AND DOES 1 -40,      QUANTUM MERUIT
     17
                      Defendants.                  BREACH OF IMPLIED
     18                                            CONTRACT;
                                                   DECLARATORY RamP;
     19
                                                   NEGLIGENCE PER SE; and
     20                                            INTERFERENCE WITH
                                                   PROSPECTIVE ECONOMIC
     21
                                                   ADVANTAGE
     22
                                                 JURY TRIAL REQUESTED
     23
     24                                          Damages: UNLIMITED: Over
                                                 $25,000
     25
     26
     27                                                               Fax
     28




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         Plaintiff NAMDY CONSULTING, INC. (hereafter referred to as "NAMDY") complains and
     2 alleges:
     3                                        GENERAL ALLEGATIONS
     4      I. NAMDY is and at all relevant times was a corporation organized and existing under the
     5         laws of the State of California, and was and is a resident of the County of Los Angeles.
     6     2. NAMDY is and at all relevant times was in the business of purchasing and collecting
     7         accounts receivable on behalf of various other companies, including without limitation
     8         professional business entities engaged in the business of providing patients with medical
     9         services, medications, devices, and any other services related to healthcare. As such
    10         NAMDY has been assigned these accounts receivable and related claims by certain
    II         medical groups, physicians, or health care providers (hereinafter referred to as
    12         "Physicians"), who were fully licensed, certified, and in good standing under the laws of
    13         the State of California.
    14     3. Physicians provided medical care, services, treatment, and/or procedures and services to
    15         members, subscribers and insureds of ANTHEM BLUE CROSS LIFE AND
    16         HEALTH INSURANCE CO. ("ANTHEM") AND BLUE SHIELD OF CALIFORNIA ("BLUE
    17        SHIELD") AND DOES I 40, California Corporations, (hereafter referred to as
                                          -




    18         "DEFENDANT" or "DEFENDANTS"). Physicians became entitled to reimbursement,
    19         payment and/or indemnification from DEFENDANTS for those services and supplies
    20         rendered. Physicians have assigned their right to payment and to collect their fees from
    21        DEFENDANTS to NAMDY.
    22     4. Physicians assigned these accounts receivable and related claims with the intention of

    23         terminating their ownership in these receivables and claims and transferring full

    24        ownership to NAMDY. Physicians no longer have the ability to pursue their collection of

    25         these receivables and claims against DEFENDANTS.
    26     5. DEFENDANT is a California corporation licensed to do business in and was doing
    27         business in the State of California, as an insurer. NAMDY is informed and believes that
    28         DEFENDANT is licensed by the Department of Insurance to transact the business of

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                 insurance in the State of California. DEFENDANT is, in fact, transacting the business of
     2           insurance in the State of California and is thereby subject to the laws and regulations of
                 the State of California.
     4       6. The true names and capacities, whether individual, corporate, associate, or otherwise, of
                 DEFENDANTS are unknown to NAMDY, who therefore sues said DEFENDANTS by
                 such fictitious names. NAMDY is informed and believes and thereon alleges that each of
                 the DEFENDANTS designated herein as a DOE is legally responsible in some manner or
                 to some extent for the events and happenings referred to herein and legally caused injury

     9           and damages proximately thereby to NAMDY. NAMDY will seek leave of this Court to
    10           amend this Complaint to insert their true names and capacities in place and instead of the
    11           fictitious names when they become known to it.
    12           At all times herein mentioned, unless otherwise indicated, DEFENDANTS were the

    13           agents and/or employees of each of the remaining DEFENDANTS, and were at all times

    14           acting within the purpose and scope of said agency and employment, and each
    15           DEFENDANT has ratified and approved the acts of his agent. At all times herein

    16           mentioned, DEFENDANTS had actual or ostensible authority to act on each other's

    17           behalf in certifying or authorizing the provision of medical services; processing and

    18           administering the claims and appeals; pricing the claims; approving or denying the

    19           claims; directing each other as to whether to pay and/or how to pay claims; issuing

    20           remittance advices and explanations of benefits statements; and, making payments to

    21           NAMDY and its patients.
    22                                                            FACTS
    23           This complaint arises out of the failure of DEFENDANTS to make payments due and

    24           owing to Physicians for surgical care, treatment, and procedures provided to numerous

    25           patients' (hereafter referred to as "Patients"), all of whom were insureds, members,

    26
    27     For privacy reasons and to comply with the Health Insurance Portability and Accountability Act of 1996 ("HIPPA"), the
         full names and identifying infonnation pertaining to the patients has been withheld. This information will be disclosed to
    28   DEFENDANTS upon request.
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             policyholders, certificate-holders, or were otherwise covered for health, hospitalization,
     2       pharmaceutical expenses, and major medical insurance through policies or certificates of
     3       insurance issued and underwritten by DEFENDANTS.
     4    9. None of the claims and/or causes of action in this Complaint are derivative of the
     5       contractual rights of the patients. In no way does NAMDY seek to enforce the contractual
     6       rights of the patients through the patients' insurance contracts, policies, certificates of
     7       coverage, and/or any other written insurance agreements between DEFENDANTS and
     8       any patients. The claims and causes of action are based upon the relationship and
     9       interactions between the Physicians and DEFENDANTS and upon the fact that the
    10       Patients were covered by DEFENDANTS.
    11    10. NAMDY is informed and believes that each of the Patients were insured by
    12       DEFENDANT either as a subscriber to coverage or a dependent of a subscriber to
    13       coverage under a policy or certificate of insurance issued and underwritten by
    14       DEFENDANT. NAMDY is informed and believes that each of the Patients entered into a
    15       valid insurance agreement with DEFENDANT for the specific purpose of ensuring that
    16       the Patients would have access to medically necessary treatments, care, procedures and
    17       surgeries by medical practitioners like the Physicians and ensuring that DEFENDANT
    18       would pay for the health care expenses incurred by the Patient.
    19    II. NAMDY is informed and believes, and on such information and belief alleges, that
    20       DEFENDANT received, and continues to receive, valuable premium payments from the
    21       Patients and/or other consideration from the Patients under the subject policies applicable
             to the Patients.
    23    12.At all relevant times, the Physicians provided medically necessary and appropriate
    24       services, care, treatment, and/or procedures to Patients holding valid insurance policies or
    25       certificates issued by DEFENDANT.
    26    13. The Physicians have a reputation for providing high quality care, treatment, and
    27       procedures. Their charges for services are on par with the charges of other physicians in
    28

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             the same general area for the same prodedures and/or services. The Physicians' billed
             charges are reasonable, usual, and customary.
          14. The Physicians who provided medical services toPatients were "out-of-network

             providers" who had no preferred provider contracts or other contracts with
             DEFENDANT at the time that the surgeries or procedures were performed.

    ri    15. It is standard practice in the healthcare industry that when a medical provider enters into
             a written preferred provider contract with a health plan such as DEFENDANT, that

             medical provider agrees to accept reimbursement that is discounted from the medical

             provider's total billed charges in exchange for the benefits of being a preferred or

    10       contracted provider. Those benefits include an increased volume of business, because the

    11       health plan provides financial and other incentives to its members to receive their medical

    12       care and treatments from the contracted provider, such as advertising that the provider is

    13       "in network," and allowing the members to pay lower co-payments and deductibles to

    14       obtain care and treatment from a contracted provider. When health plans such as

    15       DEFENDANT receive claims from in-network providers, they adjusts the total charges

    16       submitted by the in-network provider and pays an agreed upon contract rate to the in-

    17       network provider.

    18    16. Conversely, when a medical provider, such as Physicians, does not have a written

    19       contract with a health plan such that it is an out-of-network provider, the medical

    20       provider receives no referrals from the health plan, as the health plan discourages its

    21       members and subscribers from obtaining their care from the non-contracted providers.

    22       The non-contracted provider has no obligation to reduce its charges, and is entitled to

    23       receive payment based on its billed or total charges for the services rendered (less any

    24       copayments, coinsurance amounts, or deductibles owed by the Patients). The health plan

    25       is not entitled to a discount from the medical provider's total billed charges for the

    26       services rendered, because it is not providing the medical provider with the benefits of

    27       increased patient volume that results from being an in-plan or in-network provider. In

    28       such cases, when a health plan such as DEFENDANT receives claims from the out-of-

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             network provider for the total charges billed by the out-of-network provider and then

     2       adjusts those claims, paying only those billed charges which are in an amount equivalent

             to the usual and customary amount charged by similar providers rendering similar

    4        treatment in the same or similar geographical location (less copayments, coinsurance, and

             deductible amounts).

     6    17. The Physicians were legally required to offer and render medical services, care,

     7       treatment, and/or procedures to the Patients, who were members, insureds, or subscribers

     8       of DEFENDANT, because the services were emergent. For each of the Patient claims at

     9       issue here, the Physician did in fact provide such emergency medical services, care,

    10       treatment, and/or procedures to the Patients, as required by law.

    'I    18. Because the medical services, care, treatment, and/or procedures rendered by the

    12       Physicians to the Patients were emergent in nature, DEFENDANT was required by law to

    13       compensate the Physicians at usual, customary, and reasonable rates.

    14    19. The claims at issue in this case are comprised of claims for medical services, care,

    15       treatment, and/or procedures provided to members, insureds or subscribers of

    16       DEFENDANT by the Physicians, for which payments were made to the Physicians based

    17       upon a sum unilaterally determined by DEFENDANT to be usual, customary, and

    18       reasonable, which sums were not usual, reasonable, or customary and were far less than

    19       the Physicians' billed charges.

    20    20. Following performance of medical services, care, treatment, and/or procedures by the

    21       Physicians upon the Patients, invoices, bills and claims were submitted to DEFENDANT

    22       for adjustment and payment.

    23    21. Medical records pertaining to the Patients medical services, care, treatment, and/or

    24       procedures were provided to DEFENDANT by the Physicians. All information requested

    25       by DEFENDANT relating to the medical services, care, treatment, and/or procedure

    26       provided by the Physicians to the Patients was supplied to DEFENDANT by the

    27       Physicians.

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             At all relevant times, the Physicians submitted their claims to DEFENDANT
             accompanied with lengthy operative reports, chart notes, and other medical records. No
             matter whether large or small, all of the Physicians' claims are submitted using CPT

     4       codes, Healthcare Common Procedure Coding System ("HCPCS"), and modifiers, as

             necessary.
             At all relevant times, the Physicians expected to be reimbursed by DEFENDANT at the
             lesser of its billed charges or the then-current usual, customary, and reasonable rate,

     8       which is defined by California law as follows:

     9              A "usual" charge is the amount that is most consistently charged by an individual
                    physician for a given service. A "customary" charge is the amount that falls within
    10
                    a specified range of usual charges for a given service billed by most physicians
    11              with similar training and experience within a given geographical area. A
                    "reasonable" charge is a charge that meets the Usual and Customary criteria, or is
    12              otherwise reasonable in light of the complexity of treatment of the particular case.
    13              Under a UCR Program, the payment is the lowest of the actual billed charge, the
                    physician's usual charge or the area customary charges for any given covered
    14
                    service.
    15
    16       Rather than simply pay the Physicians the lesser of their billed charges or usual,

    17       customary, and reasonable rates, DEFENDANTS instead routinely and deliberately

    18       reimbursed the Physicians' claims at below usual, customary, and reasonable levels,

    19       forcing Physicians to exhaust time and energy first identifying and then appealing

    20       improperly reimbursed claims.

    21       DEFENDANTS have failed and refused to pay any monies, benefits, insurance proceeds,
    22       or make any payment to the Physicians in connection with the medically necessary

    23       services, care, treatment, and/or procedures rendered to the Patients by the Physicians, or

    24       have substantially underpaid benefits for such services at inappropriately low rates, using

    25       illegal and/or flawed databases and systems to calculate reimbursement for non-

    26       contracted providers and have failed and refused to pay the claims at usual, customary,

    27       and reasonable rates.

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             At all relevant times, DEFENDANT has improperly paid the Physicians for medically
             necessary and appropriate services rendered to DEFENDANT's insured at rates far below
     3       the billed rates, even though there was no contractual relationship or preferred provider
     4       relationship between the Physicians and DEFENDANTS. For each of the Patient claims
     5       at issue in this action, the Physicians provided medical services to members and insureds
     6       of DEFENDANT.
     7       The rates paid by DEFENDANT were not reasonable, customary or usual, and were
             arbitrary, capricious and inexplicable. Further, DEFENDANT has never explained how
     9       they calculated, justified, rationalized or comprised their pricing and rate schedule for
    10       non-contracted, out-of-network providers, such as the Physicians.
    11       Often, the rates paid to the Physicians by DEFENDANTS for the exact same procedure,
    12       treatment, surgery, or services were paid at different rates during the same year. At other
    13       times, the Physicians were paid rates which were below what they would have received
    14       had they been a preferred or in-network provider, even though such volume-discounted
    15       rates would have been significantly lower than usual, reasonable, and customary rates as
    16       defined by California law.
    17       The California Department of Managed Health Care has adopted regulations that define
    18       the amount that health care service plans such as DEFENDANTS are obligated to pay
    19       non-contracted providers such as the Physicians. These regulations provide a
    20       methodology for determining the rate to be paid to out-of-network emergency room
    21       providers:
    22              For contracted providers without a written contract and non-contracted providers.
                       the payment of the reasonable and customary value for the health care
    23              services rendered based upon statistically credible information that is updated at
    24              least annually and takes into consideration: (i) the provider's training,
                    qualifications and length of time in practice; (ii) the nature of the services
    25              provided; (iii) the fees usually charged by the provider; (iv) prevailing
    26              provider rates charged in the general geographic area in which the services
                    were rendered; (v) other aspects of the economics of the medical provider's
    27              practice that are relevant; and (vi) and unusual circumstances in the case.
    28
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             28 Cal. Code Regs. Section 1300.71(a)(3)(B) (Emphasis added). These definitions are the
     2       same criteria used by California Courts to determine the quaniwn mend: amounts that
     3       should be paid for services rendered by non-contracted providers by insurers in
     4       California.
     5    30. Based upon these criteria, the Physicians' charges are reasonable and customary. The
     6       Physicians charged DEFENDANT the same fees that they charges all other payers.
     7    31.NAMDY is informed and believes that DEFENDANT relied upon and utilized a flawed
     8       database to make pricing determinations for the claims submitted by the Physicians on
     9       behalf of the Patient. DEFENDANT utilized that flawed database as a primary source of
    10       data upon which it based its pricing determinations, even though DEFENDANT knew
    II       that the data cannot and should not be used for that purpose. DEFENDANT was fully
    12       aware that its database was not properly designed to determine usual, customary and
    13       reasonable reimbursement amounts.
    14    32. NAMDY is informed and believes and thereon alleges that DEFENDANT's system for
    15       paying out-of-network claims is flawed, that DEFENDANT improperly manipulates the
    16       data in its systems to underpay out-of-network medical provider claims, and that
    17       DEFENDANT'S systems and methods for calculating such rates violate California law.
    18       DEFENDANT has used flawed databases and systems to unilaterally determine what
    '9       amounts it pays to medical providers and has colluded with other insurers to artificially
    20       underpay, decrease, limit, and minimize the reimbursement rates paid for services
    21       rendered by non-contracted providers. The issue of flawed database has been investigated
    22       by the U.S. Congress and New York Attorney General and has been the source of
    23       numerous lawsuits and class action suits filed in connection with the databases utilized
    24       (known as Ingenix).
    25    33. NAMDY is informed and believes that there are a number of inherent flaws in
    26       DEFENDANT's database, which make that database invalid and inappropriate for setting
    27       usual, customary and reasonable rates. Among other flaws, DEFENDANT's database:
    28          a. Does not determine the numbers or types of providers in any geographic area;
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               b. Does not determine the actual types of procedures performed within a geographic

     2            area;

     3         c. Collects charge data which is not representative of the actual number of

     4            procedures performed within a geographic area;

     5         d. Does not collect sufficient data to enable its users to determine whether the data

     6            reflects the charges of providers with any particular degree of expertise or

     7            specialization;

     8         e. Does not collect sufficient provider-specific data to enable its users to determine

     9            whether the charges are from one provider, from several providers, or from only a

    10            minority subset of the providers in a geographic area;

    11         f. Fails to compare providers of the same or similar training and experience level

    12            and, instead, combines and averages all provider charges by procedure code

    13            without separating the charges of physicians and non-physicians;

    14         g. Does not collect patient specific information such as age or medical history or

    15            condition;

    16         h. Does not ascertain the most common charge for the same service or comparable

    17            service or supply;

    18         i. Does nol determine the place of service or type of facility;

    19         j. Does not collect sufficient data to enable it or its users to determine an appropriate

    20            medical market for comparing like charges;

    21         k. Combines zip codes inappropriately, and uses zip codes instead of appropriate

    22            medical markets;

    23         I. Fails to compare procedures that use the same or similar resources (and other

    24            costs) to the provider but, rather, indiscriminately combines all provider charges

    25            by procedure code without regard to such factors;

    26         in. Fails to compare procedures of the same or similar complexity by, among other

    27            things, failing to record or account for CPT code modifiers;

    28         n. Does not use appropriate statistical methodology;

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                   Does not properly consider charging protocols and billing practices generally

     2             accepted by the medical community or specialty groups;

                   Does not properly consider medical costs in setting geographic areas;

     4          q. Lacks quality control, such as basic auditing, to ensure the validity, completeness,
                   representativeness, and authenticity of the data submitted;

     6          r. Is subject to pm-editing by data contributors;

     7          s. Reports charges that are systematically skewed downward;

     8          t. Uses relative values and conversion factors to derive inappropriate usual,

     9             customary and reasonable amounts;

    10          u. Uses a methodology that does not comply with DEFENDANT'S contractual

    II              definition of usual, customary and reasonable; and

    12          v. Purports to be confidential and/or proprietary, which prevents access to, and

    13             scrutiny of, the data by members of their employers.

    14    34. These and other flaws render DEFENDANT'S use of its data system invalid and

    15       unlawful for determining usual, customary and reasonable rates. By systematically and

    16       typically making usual, customary, and reasonable rate determinations without compliant

    17       and valid data to substantiate its determinations, DEFENDANTS have breached their

    18       obligations to reimburse Physicians for out-of-network services. Accordingly, all past

    19       usual, customary, and reasonable rate determinations based on DEFENDANT'S data

    20       system should be overturned and disregarded.

    21    35. DEFENDANT used other improper pricing methods to reduce reimbursement to out-of-

    22       network providers. Accordingly, DEFENDANT violated, and continues to violate, its

    23       legal obligations to Physicians to pay usual, customary and reasonable rates of

    24       reimbursement for services rendered to the Patients, insureds, subscribers, and members.

    25    36. DEFENDANT has received claims from the Physicians for a number of years. As such,

    26       DEFENDANT knew the rates that the Physicians charged for various services. Moreover,

    27       DEFENDANT knew or should have known the amounts charged by other medical

    28       providers for medical services, care, and treatment, since it had received, reviewed and

                                                     11
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             processed, numerous claims prior to processing the claims at issue in this litigation. It is
     9       standard practice in the healthcare industry for medical providers (whether in-network or

     3       not) to submit claims and bills showing the total charges to health plans such as

     4       DEFENDANT and for DEFENDANT to price those claims, based either upon the total
     5       charges or the contractual rates offered to network providers.

     6    37. The Physicians have also been disparaged by the pervasive under-reimbursement scheme.

     7       When a patient refers to his/her evidence of coverage documents promulgated by

             DEFENDANTS, he/she is led to believe that when he/she seeks out-of-network care their
     9       charges will be paid by DEFENDANTS at the "usual and customary rate' of similar

    10       physicians for a similar service in a similar area. When a patient obtains out-of-network

    II       treatment from providers such as the Physicians and the provider submits the bill to the

    12       insurer, a patient learns for the first time that he/she will not be fully reimbursed because

    13       the doctor's charges are alleged by DEFENDANT to exceed the usual and customary

    14       rate. The physician-patient relationship is undermined, as the physicians have been

    15       branded as charlatans whose bills are inflated and unreasonable.

    16    38. At all relevant times, DEFENDANT harmed the physicians by making improper usual,

    17       customary, and reasonable rate and pricing determinations that reduced the lawful

    18       reimbursement amounts for out-of-network providers without valid or compliant data to

    19       support such determinations. DEFENDANT further harmed the Physicians by

    20       misapplying in-network policies to out-of-network provider claims, and by delaying

    21       payments to out-of-network providers under the pretext of negotiation. As a result of

    22       these actions, the Physicians were financially harmed and forced to exhaust significant

    23       time and resources appealing DEFENDANT's unlawful determination through a process

    24       deliberately designed to deny, delay, and impede out-of-network physician providers

    25       from obtaining their rightful reimbursement.

    26    39. Upon information and belief, DEFENDANT used and continues to use flawed database

    27       data, among other sources, to understate the true market rates of medical care performed

    28       by out-of-network providers. The improper use of this data has caused both patients and

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             out-of-network providers to experience significant losses. Patients are harmed because

     2       payers like DEFENDANT are not reimbursing out-of-network services at appropriate
             levels, which results in out-of-network providers increasingly billing their patients for

     4       amounts charged, which exceed the amounts DEFENDANT covers. Out-of-network
             providers like Physicians are harmed because they are not always able to collect these
             balances from patients and are forced to take a loss for their services. Moreover, because
             out-of-network providers are often unaware of the scheme that results in payers like

     8       DEFENDANT failing to pay appropriate usual, customary and reasonable rates, they are

     9       either powerless to appeal any such improper determinations or their efforts to appeal

    10       these determinations are futile. DEFENDANT, by contrast, benefits from paying out-of-

    ii       network providers at below market rates. If, for example, out-of-network providers fail to

    12       realize that the scheme is the cause of their underpayment, DEFENDANT has unlawfully

    13       retained money which otherwise belongs to the Physicians for the services provided.

    14       DEFENDANT's ambiguity regarding its method for calculating usual, customary and

    15       reasonable rates reflects its participation in this deceptive practice.

    16    40. DEFENDANT's explanation of benefit statements are initially uninformative, false, and

    17       misleading regarding the use of usual, customary, and reasonable rates. This ambiguity

    18       has resulted in the inconsistent application of usual, customary and reasonable rates to

    19       deny Physicians their lawful reimbursement. Usual, customary, and reasonable rates

    20       should be applied consistently by DEFENDANTS, but instead are selectively used to

    21       deny or diminish lawful reimbursement to Physicians and other out-of-network providers.

    22    41.The Physicians' explanation of benefits and remittance advices received from

    23       DEFENDANTS often state that their billed charges purportedly exceed the usual,

    24       customary, and reasonable rate for the geographic area where the services were

    25       performed. However, nowhere on the explanation of benefit statements, remittance

    26       advices, or elsewhere in any other correspondence sent to the Physicians do

    27       DEFENDANTS discuss or identify how they actually calculate usual, customary, and

    28       reasonable rates. The Explanation of Benefit statements do not even specify whether

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             database data or some other methodology was used in these calculations. Instead, the
             explanation of benefit statements plainly state that the rates have been determine by

             DEFENDANTS. With its methods for calculating usual, customary, and reasonable rates

     4       shrouded in a veil of secrecy, DEFENDANTS have been able to derive improper rates

     5       using faulty data, and apply them to out-of-network providers such as the Physicians.

     6                                  FIRST CAUSE OF ACTION:
     7             FOR RECOVERY OF PAYMENT FOR SERVICES RENDERED
                                    (AS AGAINST ALL DEFENDANTS)
     9    42. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set

    10       forth herein.

    ii    43. At all times herein mentioned, Physicians provided medical services, care, treatment,

    12       and/or procedures to Patients as required by law (because the medical services provided

    13       were emergency services), thereby benefiting DEFENDANTS and the Patients.

    14    44.At all times herein mentioned, DEFENDANTS were required by law to pay usual,

    15       reasonable, and customary rates for the emergency care provided by the Physicians to the

    16       Patients, who were members or subscribers of DEFENDANT. California Health and

    17       Safety Code § 1371.4; BeLl v. Blue Cross, 131 Ca1.App.4th 211.

    18    45. At all relevant times, the Physicians rendered care, treatment, and services to the Patients

    19       in good faith and in reliance upon the legal requirement that insurers pay for the

    20       emergency medical care of those they insure. DEFENDANTS had a duty to pay,

    21       reimburse, indemnify, and cover the Physicians for the care, treatment and services

    22       rendered by the Physicians to the Patients pursuant to California Health & Safety Code

    23       §§ 1371, 1371.35, and 1371.4 following the rendition of services and treatment by the

    24       Physicians to the Patients. Further, DEFENDANTS had a duty to pay usual, customary,

    25       and reasonable rates for the services rendered by the Physicians in compliance with 28

    26       California Code of Regulations § 1300.71 et seq. For the Patients, DEFENDANTS have

    27       failed and refused to comply with 28 California Code of Regulations § 1300.71 et seq.

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             At all relevant times, the Physicians rendered care and treatment to the Patient.
     2       DEFENDANT had a duty to pay, reimburse and cover the cost of such treatment and
     3       services by payment to the Physicians for the medical services, care, treatment, and/or

     rj      procedures rendered by. the Physicians to the Patients, pursuant to California Health &
             Safety Code §§ 1371, 1371.35, and 1371.4, and was prohibited from denying or refusing
     6       coverage, payment, indemnity, or reimbursement for the cost for treatment and services

     7       rendered by the Physicians to the Patients. Further, DEFENDANTS had a duty to pay
     8       usual, customary, and reasonable rates for the services rendered by NAMDY's assignor
     9       in compliance with 28 California Code of Regulations § 1300.71 et seq. and have failed
    10       and refused to pay usual, customary, and reasonable amounts.
    11       At all relevant times, 28 California Administrative Code § 1300.71 et seq. required that
    12       DEFENDANTS reimburse the Physicians for the claims submitted on behalf of the

    13       Patient within 45 days after DEFENDANTS received the Patient's claims from the
    14       Physicians. 28 Cal. Admin. Code Tit. 28 Section 1300.7 1(a)(3) defines the manner and

    15       method by which reasonable and customary rates are to be defined by DEFENDANTS,
    16       providing:
    17                 For contracted providers without a written contract and non-contracted providers,
                except those providing services described in paragraph (C) below: the payment of the
    18          reasonable and customary value for the health care services rendered based upon
    19          statistically credible information that is updated at least annually and takes into
                consideration: (i) the provider's training, qualifications, and length of time in practice;
    20          (ii) the nature of the services provided; (iii) the fees usually charged by the provider;
    21          (iv) prevailing provider rates charged in the general geographic area in which the
                services were rendered; (v) any unusual circumstances in the case; and
    91)
                      For non-emergency services provided by non-contracted providers to PPO and
    23          POS enrollees: the amount set forth in the enrollee's Evidence of Coverage.

    24    48.As a proximate result of the violation of California Health & Safety Code §§ 1371.8 and
    25       1371, California Insurance Code § 796.04, California Insurance Code § 796.04 and/or 28
    26       C.C.R. § 13700.1 by DEFENDANT, which acts were intentional, willful and knowing,
    27       the Physicians have never been paid for any of the medical services, care, treatment,

    28       and/or procedures provided to the Patient or have been underpaid for such medical

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             services, care, treatment, and/or procedures. By their acts and omissions, DEFENDANTS
     2       have failed and refused to pay the usual, customary, and reasonable value for the services
     3       rendered by the Physicians to the Patients.
     4    49. The Physicians are owed reimbursement, compensation, and payment of the cost of the
     5       medical services, care, treatment, and/or procedures which they rendered and provided to
     6       the Patient at the Physicians' billed rates or at rates equivalent to the usual, customary,
     7       and reasonable value for their services, in conformance with the legal requirements that
     8       they provide emergency care to any patient and that the insurance of any patient who
     9       received emergency care pay the provider of the care at usual, customary, and reasonable
    10       rates.
    11    50. The Physicians have demanded that DEFENDANT pay for the medical treatment
    12       provided to the Patient, and has submitted statements to DEFENDANT for the medical
    13       services rendered to the Patient.
    14    51. DEFENDANTS have failed and refused to pay, and continue to refuse to pay the
    15       Physicians for such services rendered at appropriate rates and have underpaid the
    16       Physicians by failing and refusing to pay usual, customary and reasonable rates.
    17       Accordingly, there is now due and owing an unpaid sum, plus statutory interest thereon.
    18                                SECOND CAUSE OF ACTION:
    19                FOR RECOVERY OF PAYMENT ON OPEN HOOK ACCOUNT
    20                              (AS AGAINST ALL DEFENDANTS)
    21    52. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set
    22       forth herein.
    23    53. DEFENDANT has become indebted to the Physicians on open book accounts for the
    24       Patients, for money due in the sum to be determined at the time of trial for medical
    25       services rendered by the Physicians to the Patients.
    26    54. The Physicians have provided medical treatment to the Patient, and have maintained
    27       contemporaneous, itemized and detailed records and statements of each medical service
    28       provided to the Patients. The Physicians have provided DEFENDANT with statements

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             itemizing the medical treatment provided to the Patients, along with an accounting of the

     2       amounts owed by DEFENDANT.

     3    55. DEFENDANT has refused to pay, and continue to refuse to pay, the Physicians the billed

     4       charges submitted by the Physicians and/or the usual and customary charges owed to the

     5       Physicians for the treatment, surgeries, procedures and medical services provided to the

     6       Patients. Accordingly, there is now due and owing an unpaid sum in an amount to be

     7       determined at the time of trial, plus statutory interest.

     8                                 THIRD CAUSE OF ACTION:
     9                                   FOR OUANTUM MERUIT
    10                                (AGAINST ALL DEFENDANTS)
    II    56. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set

    12       forth herein.

    13    57. As required by law (because the medical services provided were emergency services), the

    14       Physicians provided surgeries, procedures, medical treatments, and other medical

    15       services to the Patients, thereby benefitting DEFENDANT and the Patients.

    16    58. DEFENDANTS have failed and refused to pay the Physicians the appropriate amounts

    17       incurred by the Physicians in rendering medical services, care, treatment, and/or

    is       procedures to the Patients, have underpaid those costs and have failed and refused to pay

    19       the usual, reasonable, and customary costs of those services.

    20    59. At all times herein mentioned, DEFENDANTS were required by law to pay usual,

    21       reasonable, and customary rates for the emergency care provided by the Physicians to the

    22       Patients, who were members or subscribers of DEFENDANT. California Health and

    23       Safety Code § 1371.4; Bell v. Blue Cross, 131 Cal.App.4th 211

    24    60. DEFENDANT is required to reimburse the Physicians at a quantunt nieruit rate for all

    25       services rendered to the enrollees, the Patients. The quantum meruit amount owed by

    26       DEFENDANT to the Physicians is determined according to the customary charges that

    27       would be billed by the Physicians and/or other physicians in the absence of preferred

    28       provider or participating provider contractual rates. Based upon DEFENDANTs request

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In



                  that the Physicians render treatment, surgeries, procedures and medical services to the
         I        Patient, and the fact that DEFENDANT was benefitted by the provision of such services
          3       by the Physicians, an obligation on the part of DEFENDANT to make restitution to the

         4        Physicians arose.

          5       The quantum meruit rate for the medical treatment the Physicians provided to the Patients
          6       is an amount to be determined at trial. This amount represents the usual, customary and
                  reasonable cost or charge for the services rendered by the Physicians. The Physicians

                  have submitted statements to DEFENDANT for these amounts, and have made repeated

          9       demands that they be paid for the medical treatment provided to the Patient at usual,

         10       customary, and reasonable rates.

         11       DEFENDANT has refused to pay, and continues to refuse to pay, the Physicians for the

         12       whole or any part of the sums owed to the Physicians for the treatment, surgeries,

         13       procedures and medical services provided to the Patient, at usual, customary and

         14       reasonable rates. Accordingly, there is now due and owing an unpaid sum, plus statutory

         15       interest.

         16                               FOURTH CAUSE OF ACTION:
         17                           FOR BREACH OF IMPLIED CONTRACT
         18                             (AS AGAINST ALL DEFENDANTS)
         19       Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set

         20       forth herein.

         21       NAMDY is informed and believes and thereon alleges that, at all relevant times herein,

         22       the Patients had valid policies with DEFENDANT or were members, subscribers,

         23       insureds, or were otherwise entitled to coverage, indemnification and payment as

         24       policyholders or certificate-holders of insurance policies and certificates issued and

         25       underwritten by DEFENDANT.

         26    65.NAMDY is informed and believes that the Patients obtained such policies from

         27       DEFENDANT for the specific purposes of (I) ensuring that the patients would have

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             access to medically necessary treatments at healthcare facilities, and (2) ensuring that

             DEFENDANT would pay for the healthcare expenses incurred by the patients.
     3    66. DEFENDANTS knew or reasonably should have known that its insureds would seek

     4       medical treatment from the Physicians.

     5    67. NAMDY is informed and believes that DEFENDANT received and continues to receive

     6       valuable premium payments from the Patients under the relevant insurance policies.

     7    68. Since Physicians were required by law to treat the Patients in emergency situations, they

     8       agreed by implication to treat the Patients. DEFENDANTS, by law, were required to pay

     9       Physicians at the usual, customary, and reasonable rate for emergency services and

    10       therefore agreed by implication to pay usual, customary, and reasonable rates to

    II       Physicians. California Health and Safety Code § 1371.4; Bell v. Blue Cross, 131

    12       Cal.App.4th 211.

    13    69. In consideration for the Physicians' implied agreement to treat the Patients,

    14       DEFENDANT implicitly agreed to reimburse the Physicians for the expenses incurred by

    15       the Patients in the course of being treated and undergoing surgeries or procedures

    16       rendered by the Physicians and agreed io pay the Physicians a usual and customary rate

    17       for those services.

    18    70. The Physicians provided medical treatment to the Patient. DEFENDANT has refused to

    19       pay, and continues to refuse to pay, the Physicians for the whole or a part of the sums

    20       owed to the Physicians at appropriate rates for the treatment services provided to the

    21       Patients.
    '9    71. As a result of the foregoing breach, the Physicians have been damaged by DEFENDANT

    23       in an amount to be determined at trial. Accordingly, there is now due and owing an

    24       unpaid sum, plus statutory interest thereon.

    25                                 FIFTH CAUSE OF ACTION:
    26                                FOR DECLARATORY RELIEF
    27                             (AS AGAINST ALL DEFENDANTS)
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          72. Plaintiffs incorporate all allegations set forth in the above paragraphs as though fully set

     2       forth herein.
             A dispute has arisen between the Physicians and DEFENDANT as to the amount that

    4        DEFENDANT is required to pay the Physicians for the medically necessary services
             provided by the Physicians to the Patients. DEFENDANT contends that it owes the
             Physicians nothing in connection with the services, surgeries, and procedures provided to

             the Patients. The Physicians contend that they are entitled to receive payment in an

     8       amount to be determined at trial, plus statutory interest, for the medical services provided

     9       to the Patients during the course of their treatment.

    10    74.NAMDY seeks and desires ajudicial determination by the Court that DEFENDANT is

    II       required to pay the Physicians for the services, surgeries, procedures, and other medical

    12       treatments provided to the Patients during the course of their treatment by the Physicians

    13       at the billed or total rates charged by the Physicians.

    14    75. Such a declaration is necessary and appropriate at this time so that the Physicians and

    15       DEFENDANT may ascertain their rights, duties, and obligations concerning the medical

    16       services the Physicians provided to the Patients.

    17                                  SIXTH CAUSE OF ACTION:
    18                                  FOR NEGLIGENCE PER SE
    19                              (AS AGAINST ALL DEFENDANTS)
    20       Plaintiffs incorporate by reference all previous paragraphs as though fully set forth

    21       herein.

    22       At all times herein mentioned, DEFENDANTS were required by law to pay usual,

    23       reasonable, and customary rates for the emergency care provided by the Physicians to the

    24       Patients, who were members or subscribers of DEFENDANT. California Health and

    25       Safety Code § 1371.4;    Bell Y. Blue Cross, 131 Cal.App.4th 211.
    26       DEFENDANTS have a duty to pay, reimburse, indemnify, and cover the Physicians for

    27       the medical services, care, treatment, and/or procedures rendered by the Physicians to the

    28       Patients pursuant to California Health & Safety Code §§ 1371.1, 1371.8, and/or

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             California Insurance Code § 796.04 following the rendition of services and treatment by

     2       the Physicians to the Patients. Further, DEFENDANTS had a duty to pay usual,
             customary, and reasonable rates for the services rendered by the Physicians in

    4        compliance with 28 California Code of Regulations § 1300.71 et seq. For the Patients,
             DEFENDANTS have failed and refused to comply with 28 California Code of

     6       Regulations § 1300.71 et seq.

     7    77. DEFENDANTS have a duty to pay, reimburse, compensate, cover and indemnify the

     8       Physicians at their billed rates or at usual, customary, and reasonable rates for the

     9       services, treatment, care and pharmaceuticals rendered by the Physicians to the Patients

    10       in compliance with the legal requirement that insurers cover emergency medical care

    11       provided to those they insure. Such duties arose by virtue of California Health & Safety

    12       Code §§ 1371.8, 1371.1, and 1371.4, by virtue of California Insurance Code § 796.04 and

    13       by virtue of 28 California Code of Regulations § 1300.71 et seq.

    14    78. Each of the statutes herein mentioned was intended to prevent, prohibit, and preclude the

    15       type of damage suffered and sustained by the Physicians. Each of the statutes herein

    16       mentioned was intended to prevent, prohibit, and preclude DEFENDANTS from failing

    17       and refusing to pay, compensate, reimburse, cover, and indemnify the Physicians for the

    18       medical services, care, treatment, and/or procedures they provided to the Patients and

    19       from being underpaid by DEFENDANT for such medical services, care, treatment,

    20       and/or procedures.

    21    79. The Physicians are members of the class of persons and/or entities to be protected by

    22       these statutes, since they were "providers" of medical care, which rendered health care

    23       services in good faith to DEFENDANTS' members, subscribers, and insured the Patients.

    24       DEFENDANTS were regulated by California law and are subject to California Health &

    25       Safety Code §§ 1371.1, 1371.4 and 1371.8, California Insurance Code § 796.04 and 28

    26       California Code of Regulations § 1300.71 et seq.

    27    80. As a proximate result of the violation of California Health & Safety Code §§ 1371.1,

    28       1371.4, and 1371.8, California Insurance Code § 796.04 and 28 California Code of

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             Regulations § 1300.71, et seq., by DEFENDANT and of the breaches of DEFENDANT's
             duties to the Physicians, which acts were intentional, willful, and knowing, the Physicians
             have never been paid, compensated, reimbursed, indemnified, or covered for the costs of
    ri       the treatment, care and services it rendered to the Patient and/or have been underpaid for
             such services. The refusal of DEFENDANT to reimburse the Physicians for the services
             provided to Patients insured by DEFENDANT is negligence per Se.
          81. The Physicians are owed reimbursement, compensation, and payment of the cost of the
             medical services, care, treatment, and/or procedures which they rendered and provided to
             the Patients at the Physicians' billed rates, in conformance with the legal requirements
    10       that they provide emergency care to any patient and that the insurance of any patient who
    11       receives emergency care pay the provider of the care at usual, customary, and reasonable
    12       rates.
   13                                    SEVENTH CAUSE OF ACTION:
   14
   15                              (AS AGAINST ALL DEFENDANTS)
   16     82. Plaintiff incorporates by reference all previous paragraphs as though fully set forth
   17        herein.
   18     83. For each service provided by the Physicians to each Patient, the Patient was required to
   19        pay some portion of that bill as part of their deductible, as their coinsurance amount,
   20        and/or as their co-pay.
   21     84. The explanation of benefit forms provided by DEFENDANT to both the Patients and the
   22        Physicians lists an "allowed amount" for each medical service to each Patient. It is the
   23        monetary amount that DEFENDANT unilaterally determined the services would be
   24        reimbursed at.
   25     85. The allowed amount was significantly lower than the billed amount for each service for
   26        each Patient.
   27     86. The Patients, rather than paying their portions (deductible, coinsurance, and/or co-pay) of
   28        the billed amounts, only paid their portions of the allowable amount.
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           87. As a result, the Physicians received less money from the Patients than they would have if
    2         the patients had not been, in effect, told by DEFENDANT to pay at amounts lower than
     3        the billed amount.
    4      88. DEFENDANT acted wrongfully by unilaterally determining the rates to be paid for each
    5         service, by determining rates that were below usual, customary, and reasonable rates, and
    6         by convincing the Patients to pay at the lower "allowed" amounts via their explanation of
    7         benefits forms.
    8      89. DEFENDANT was aware of the economic relationship between the Physicians and the
    9         Patients because DEFENDANT knew that the Physicians treated the patients and knew
   10         that the Patients would have to pay some portion of the bills for the medical services
    'I        provided by the Physicians.
    12                                      PRAYER FOR RELIEF
   13         WHEREFORE, Plaintiff NAMDY CONSULTING, INC. prays for judgment against
    14   DEFENDANT as follows:
   15      1. For compensatory damages in an amount to be determined, plus statutory interest;
   16      2. For restitution in an amount to be determined, plus statutory interest;
    17     3. For a declaration that ANTHEM and BLUE SHIELD are obligated to pay plaintiff all
    18        monies owed for medical services rendered to the Patient; and
   19      4. For such other further relief the Court deems just and appropriate.
   20
   21    DATED: October 17, 2017                             Respectfully submitted,
   22
   23                                                  By:
   24                                                        ALAN NESBIT, Esq.
   25                                                        Attorney for Plaintiff
                                                             NAMDY CONSULTING, INC.
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     1                                DEMAND FOR JURY TRIAL
     a,
          Plaintiff, NAMDY CONSULTNG, INC. hereby demands a jury trial as provided by law.
     3
    4     DATED: October 17, 2017                        Respectfully submitted,
     5
    6
                                                   By:   6     -     N"
    7
                                                         ALAN NESBIT, Esq.
     8                                                   Attorney for Plaintiff
    9                                                    NAMDY CONSULTING, INC.
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     Attorney for Plaintiff,
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 7
 8                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                   COUNTY OF LOS ANGELES, CENTRAL DISTRICT
10
11   NAMDY CONSULTING, INC.,                         Case No.: BC680021
12                     Plaintiff,                    NAMDY CONSULTING, INC.’S
13                                                   SECOND AMENDED
                          v.                         COMPLAINT FOR:
14
15   ANTHEM BLUE CROSS LIFE AND                      1. RECOVERY OF PAYMENT
     HEALTH INSURANCE CO. AND DOES 1 -                  FOR SERVICES RENDERED;
16   40,                                             2. RECOVERY ON OPEN BOOK
17                                                      ACCOUNT;
                     Defendants.                     3. QUANTUM MERUIT
18
                                                     4. BREACH OF IMPLIED
19                                                      CONTRACT; and
                                                     5. DECLARATORY RELIEF
20
21                                                   JURY TRIAL REQUESTED
22
                                                     Damages: UNLIMITED: Over
23                                                   $25,000
24
25   ///
26   ///
27   ///
28   ///


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 1   Plaintiff NAMDY CONSULTING, INC. (hereafter referred to as "NAMDY") complains and
 2   alleges:
 3                                         GENERAL ALLEGATIONS
 4        1. NAMDY is and at all relevant times was a corporation organized and existing under the
 5              laws of the State of California, and was and is a resident of the County of Los Angeles.
 6        2. NAMDY is and at all relevant times was in the business of purchasing and collecting
 7              accounts receivable on behalf of various other companies, including without limitation
 8              professional business entities engaged in the business of providing patients with medical
 9              services, medications, devices, and any other services related to healthcare. As such
10              NAMDY has been assigned these accounts receivable and related claims by certain
11              medical groups, physicians, or health care providers (hereinafter referred to as
12              "Physicians"), who were fully licensed, certified, and in good standing under the laws of
13              the State of California.
14        3. Physicians provided medical care, services, treatment, and/or procedures and services to
15              members, subscribers and insureds of ANTHEM BLUE CROSS LIFE AND HEALTH
16              INSURANCE CO. ("ANTHEM") AND DOES 1 - 40, California Corporations, (hereafter
17              referred to as ("DEFENDANT" or “DEFENDANTS”). Physicians became entitled to
18              reimbursement, payment and/or indemnification from DEFENDANTS for those
19              services and supplies rendered. Physicians have assigned their right to payment and to
20              collect their fees from DEFENDANTS to NAMDY.
21        4. Physicians assigned these accounts receivable and related claims with the intention of
22              terminating their ownership in these receivables and claims and transferring full
23              ownership to NAMDY. Physicians no longer have the ability to pursue their collection
24              of these receivables and claims against DEFENDANTS.
25        5. DEFENDANT is a California corporation licensed to do business in and was doing
26              business in the State of California, as an insurer. NAMDY is informed and believes that
27              DEFENDANT is licensed by the Department of Insurance to transact the business of
28              insurance in the State of California. DEFENDANT is, in fact, transacting the business of


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 1             insurance in the State of California and is thereby subject to the laws and regulations of
 2             the State of California.
 3          6. The true names and capacities, whether individual, corporate, associate, or otherwise, of
 4             DEFENDANTS are unknown to NAMDY, who therefore sues said DEFENDANTS by
 5             such fictitious names. NAMDY is informed and believes and thereon alleges that each
 6             of the DEFENDANTS designated herein as a DOE is legally responsible in some
 7             manner or to some extent for the events and happenings referred to herein and legally
 8             caused injury and damages proximately thereby to NAMDY. NAMDY will seek leave
 9             of this Court to amend this Complaint to insert their true names and capacities in place
10             and instead of the fictitious names when they become known to it.
11          7. At all times herein mentioned, unless otherwise indicated, DEFENDANTS were the
12             agents and/or employees of each of the remaining DEFENDANTS, and were at all times
13             acting within the purpose and scope of said agency and employment, and each
14             DEFENDANT has ratified and approved the acts of his agent. At all times herein
15             mentioned, DEFENDANTS had actual or ostensible authority to act on each other’s
16             behalf in certifying or authorizing the provision of medical services; processing and
17             administering the claims and appeals; pricing the claims; approving or denying the
18             claims; directing each other as to whether to pay and/or how to pay claims; issuing
19             remittance advices and explanations of benefits statements; and, making payments to
20             NAMDY and its patients.
21                                                            FACTS
22          8. This complaint arises out of the failure of DEFENDANTS to make payments due and
23             owing to Physicians for surgical care, treatment, and procedures provided to numerous
24             patients1 (hereafter referred to as "Patients"), all of whom were insureds, members,
25             policyholders, certificate-holders, or were otherwise covered for health, hospitalization,
26             pharmaceutical expenses, and major medical insurance through policies or certificates
27             of insurance issued and underwritten by DEFENDANTS.
28
     1
       For privacy reasons and to comply with the Health Insurance Portability and Accountability Act of 1996 (“HIPPA”), the
     full names and identifying information pertaining to the patients has been withheld. This information will be disclosed to
     DEFENDANTS upon request.
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 1      9. None of the claims and/or causes of action in this Complaint are derivative of the
 2         contractual rights of the patients. In no way does NAMDY seek to enforce the
 3         contractual rights of the patients through the patients’ insurance contracts, policies,
 4         certificates of coverage, and/or any other written insurance agreements between
 5         DEFENDANTS and any patients. The claims and causes of action are based upon the
 6         relationship and interactions between the Physicians and DEFENDANTS and upon the
 7         fact that the Patients were covered by DEFENDANTS.
 8     10. NAMDY is informed and believes that each of the Patients were insured by
 9         DEFENDANT either as a subscriber to coverage or a dependent of a subscriber to
10         coverage under a policy or certificate of insurance issued and underwritten by
11         DEFENDANT. NAMDY is informed and believes that each of the Patients entered into
12         a valid insurance agreement with DEFENDANT for the specific purpose of ensuring
13         that the Patients would have access to medically necessary treatments, care, procedures
14         and surgeries by medical practitioners like the Physicians and ensuring that
15         DEFENDANT would pay for the health care expenses incurred by the Patient.
16     11. NAMDY is informed and believes, and on such information and belief alleges, that
17         DEFENDANT received, and continues to receive, valuable premium payments from the
18         Patients and/or other consideration from the Patients under the subject policies
19         applicable to the Patients.
20     12. At all relevant times, the Physicians provided medically necessary and appropriate
21         services, care, treatment, and/or procedures to Patients holding valid insurance policies
22         or certificates issued by DEFENDANT.
23     13. The Physicians have a reputation for providing high quality care, treatment, and
24         procedures. Their charges for services are on par with the charges of other physicians in
25         the same general area for the same procedures and/or services. The Physicians' billed
26         charges are reasonable, usual, and customary.
27     14. The Physicians who provided medical services to Patients were "out-of-network
28         providers" who had no preferred provider contracts or other contracts with


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 1         DEFENDANT at the time that the surgeries or procedures were performed.
 2     15. It is standard practice in the healthcare industry that when a medical provider enters into
 3         a written preferred provider contract with a health plan such as DEFENDANT, that
 4         medical provider agrees to accept reimbursement that is discounted from the medical
 5         provider's total billed charges in exchange for the benefits of being a preferred or
 6         contracted provider. Those benefits include an increased volume of business, because
 7         the health plan provides financial and other incentives to its members to receive their
 8         medical care and treatments from the contracted provider, such as advertising that the
 9         provider is "in network," and allowing the members to pay lower co-payments and
10         deductibles to obtain care and treatment from a contracted provider. When health plans
11         such as DEFENDANT receive claims from in-network providers, they adjusts the total
12         charges submitted by the in-network provider and pays an agreed upon contract rate to
13         the in-network provider.
14     16. Conversely, when a medical provider, such as Physicians, does not have a written
15         contract with a health plan such that it is an out-of-network provider, the medical
16         provider receives no referrals from the health plan, as the health plan discourages its
17         members and subscribers from obtaining their care from the non-contracted providers.
18         The non-contracted provider has no obligation to reduce its charges, and is entitled to
19         receive payment based on its billed or total charges for the services rendered (less any
20         copayments, coinsurance amounts, or deductibles owed by the Patients). The health plan
21         is not entitled to a discount from the medical provider's total billed charges for the
22         services rendered, because it is not providing the medical provider with the benefits of
23         increased patient volume that results from being an in-plan or in-network provider. In
24         such cases, when a health plan such as DEFENDANT receives claims from the out-of-
25         network provider for the total charges billed by the out-of-network provider and then
26         adjusts those claims, paying only those billed charges which are in an amount equivalent
27         to the usual and customary amount charged by similar providers rendering similar
28         treatment in the same or similar geographical location (less copayments, coinsurance,


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 1         and deductible amounts).
 2     17. The Physicians were legally required to offer and render medical services, care,
 3         treatment, and/or procedures to the Patients, who were members, insureds, or
 4         subscribers of DEFENDANT, because the services were emergent or authorized or
 5         deemed authorized post-stabilization care. For each of the Patient claims at issue here,
 6         the Physician did in fact provide such emergency medical services, care, treatment,
 7         and/or procedures to the Patients, as required by law. As part of Discovery relevant
 8         Explanation of Benefits will be provided showing the patient names and the relevant
 9         CPT codes that will show that each of these procedures was either emergent or post-
10         stabilization care that had been authorized or deemed authorized. Due to HIPAA
11         regulations such information can not be provided without protective order.
12     18. Because the medical services, care, treatment, and/or procedures rendered by the
13         Physicians to the Patients were emergent in nature, DEFENDANT was required by law
14         and/or by their own contract to compensate the Physicians at usual, customary, and
15         reasonable rates.
16     19. The claims at issue in this case are comprised of claims for medical services, care,
17         treatment, and/or procedures provided to members, insureds or subscribers of
18         DEFENDANT by the Physicians, for which payments were made to the Physicians
19         based upon a sum unilaterally determined by DEFENDANT to be usual, customary, and
20         reasonable, which sums were not usual, reasonable, or customary and were far less than
21         the Physicians' billed charges.
22     20. Following performance of medical services, care, treatment, and/or procedures by the
23         Physicians upon the Patients, invoices, bills and claims were submitted to
24         DEFENDANT for adjustment and payment.
25     21. Medical records pertaining to the Patients medical services, care, treatment, and/or
26         procedures were provided to DEFENDANT by the Physicians. All information
27         requested by DEFENDANT relating to the medical services, care, treatment, and/or
28         procedure provided by the Physicians to the Patients was supplied to DEFENDANT by


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 1         the Physicians.
 2     22. At all relevant times, the Physicians submitted their claims to DEFENDANT
 3         accompanied with lengthy operative reports, chart notes, and other medical records. No
 4         matter whether large or small, all of the Physicians' claims are submitted using CPT
 5         codes, Healthcare Common Procedure Coding System ("HCPCS"), and modifiers, as
 6         necessary.
 7     23. At all relevant times, the Physicians expected to be reimbursed by DEFENDANT at the
 8         lesser of its billed charges or the then-current usual, customary, and reasonable rate,
 9         which is defined by California law as follows:
10                 A "usual" charge is the amount that is most consistently charged by an
                   individual physician for a given service. A "customary" charge is the amount
11
                   that falls within a specified range of usual charges for a given service billed by
12                 most physicians with similar training and experience within a given
                   geographical area. A "reasonable" charge is a charge that meets the Usual and
13
                   Customary criteria, or is otherwise reasonable in light of the complexity of
14                 treatment of the particular case. Under a UCR Program, the payment is the
                   lowest of the actual billed charge, the physician's usual charge or the area
15
                   customary charges for any given covered service.
16
       24. Rather than simply pay the Physicians the lesser of their billed charges or usual,
17
           customary, and reasonable rates, DEFENDANTS instead routinely and deliberately
18
           reimbursed the Physicians' claims at below usual, customary, and reasonable levels,
19
           forcing Physicians to exhaust time and energy first identifying and then appealing
20
           improperly reimbursed claims.
21
       25. DEFENDANTS have failed and refused to pay any monies, benefits, insurance proceeds,
22
           or make any payment to the Physicians in connection with the medically necessary
23
           services, care, treatment, and/or procedures rendered to the Patients by the Physicians,
24
           or have substantially underpaid benefits for such services at inappropriately low rates,
25
           using illegal and/or flawed databases and systems to calculate reimbursement for non-
26
           contracted providers and have failed and refused to pay the claims at usual, customary,
27
           and reasonable rates.
28


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 1     26. At all relevant times, DEFENDANT has improperly paid the Physicians for medically
 2        necessary and appropriate services rendered to DEFENDANT’s insured at rates far
 3        below the billed rates, even though there was no contractual relationship or preferred
 4        provider relationship between the Physicians and DEFENDANTS. For each of the
 5        Patient claims at issue in this action, the Physicians provided medical services to
 6        members and insureds of DEFENDANT.
 7     27. The rates paid by DEFENDANT were not reasonable, customary or usual, and were
 8        arbitrary, capricious and inexplicable. Further, DEFENDANT has never explained how
 9        they calculated, justified, rationalized or comprised their pricing and rate schedule for
10        non-contracted, out-of-network providers, such as the Physicians.
11     28. Often, the rates paid to the Physicians by DEFENDANTS for the exact same procedure,
12        treatment, surgery, or services were paid at different rates during the same year. At other
13        times, the Physicians were paid rates which were below what they would have received
14        had they been a preferred or in-network provider, even though such volume-discounted
15        rates would have been significantly lower than usual, reasonable, and customary rates as
16        defined by California law.
17     29. The California Department of Managed Health Care has adopted regulations that define
18        the amount that health care service plans such as DEFENDANTS are obligated to pay
19        non-contracted providers such as the Physicians. These regulations provide a
20        methodology for determining the rate to be paid to out-of-network emergency room
21        providers:
22                For contracted providers without a written contract and non-contracted
                  providers . . . the payment of the reasonable and customary value for the
23
                  health care services rendered based upon statistically credible information that
24                is updated at least annually and takes into consideration: (i) the provider's
                  training, qualifications and length of time in practice; (ii) the nature of the
25
                  services provided; (iii) the fees usually charged by the provider; (iv)
26                prevailing provider rates charged in the general geographic area in which
                  the services were rendered; (v) other aspects of the economics of the medical
27
                  provider's practice that are relevant; and (vi) and unusual circumstances in the
28                case.


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 1         28 Cal. Code Regs. Section 1300.71(a)(3)(B) (Emphasis added). These definitions
 2         are the same criteria used by California Courts to determine the quantum meruit
 3         amounts that should be paid for services rendered by non-contracted providers by
 4         insurers in California.
 5     30. Based upon these criteria, the Physicians' charges are reasonable and customary. The
 6         Physicians charged DEFENDANT the same fees that they charges all other payers.
 7     31. NAMDY is informed and believes that DEFENDANT relied upon and utilized a flawed
 8         database to make pricing determinations for the claims submitted by the Physicians on
 9         behalf of the Patient. DEFENDANT utilized that flawed database as a primary source of
10         data upon which it based its pricing determinations, even though DEFENDANT knew
11         that the data cannot and should not be used for that purpose. DEFENDANT was fully
12         aware that its database was not properly designed to determine usual, customary and
13         reasonable reimbursement amounts.
14     32. NAMDY is informed and believes and thereon alleges that DEFENDANT’s system for
15         paying out-of-network claims is flawed, that DEFENDANT improperly manipulates the
16         data in its systems to underpay out-of-network medical provider claims, and that
17         DEFENDANT’S systems and methods for calculating such rates violate California law.
18         DEFENDANT has used flawed databases and systems to unilaterally determine what
19         amounts it pays to medical providers and has colluded with other insurers to artificially
20         underpay, decrease, limit, and minimize the reimbursement rates paid for services
21         rendered by non-contracted providers. The issue of flawed database has been
22         investigated by the U.S. Congress and New York Attorney General and has been the
23         source of numerous lawsuits and class action suits filed in connection with the databases
24         utilized (known as Ingenix).
25     33. NAMDY is informed and believes that there are a number of inherent flaws in
26         DEFENDANT’s database, which make that database invalid and inappropriate for
27         setting usual, customary and reasonable rates. Among other flaws, DEFENDANT’s
28         database:


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 1              a.    Does not determine the numbers or types of providers in any geographic
 2                    area;
 3               b.   Does not determine the actual types of procedures performed within a
 4                    geographic area;
 5               c.   Collects charge data which is not representative of the actual number of
 6                    procedures performed within a geographic area;
 7               d.   Does not collect sufficient data to enable its users to determine whether the
 8                    data reflects the charges of providers with any particular degree of expertise
 9                    or specialization;
10               e.   Does not collect sufficient provider-specific data to enable its users to
11                    determine whether the charges are from one provider, from several
12                    providers, or from only a minority subset of the providers in a geographic
13                    area;
14               f.   Fails to compare providers of the same or similar training and experience
15                    level and, instead, combines and averages all provider charges by procedure
16                    code without separating the charges of physicians and non-physicians;
17               g.   Does not collect patient specific information such as age or medical history
18                    or condition;
19               h.   Does not ascertain the most common charge for the same service or
20                    comparable service or supply;
21               i.   Does not determine the place of service or type of facility;
22               j.   Does not collect sufficient data to enable it or its users to determine an
23                    appropriate medical market for comparing like charges;
24               k.   Combines zip codes inappropriately, and uses zip codes instead of
25                    appropriate medical markets;
26               l.   Fails to compare procedures that use the same or similar resources (and
27                    other costs) to the provider but, rather, indiscriminately combines all
28                    provider charges by procedure code without regard to such factors;


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 1                m. Fails to compare procedures of the same or similar complexity by, among
 2                     other things, failing to record or account for CPT code modifiers;
 3                n.   Does not use appropriate statistical methodology;
 4                o.   Does not properly consider charging protocols and billing practices
 5                     generally accepted by the medical community or specialty groups;
 6                p.   Does not properly consider medical costs in setting geographic areas;
 7                q.   Lacks quality control, such as basic auditing, to ensure the validity;
 8                r.   completeness, representativeness, and authenticity of the data submitted;
 9                s.   Is subject to pre-editing by data contributors;
10                t.   Reports charges that are systematically skewed downward;
11                u.   Uses relative values and conversion factors to derive inappropriate usual,
12                     customary and reasonable amounts;
13                v.   Uses a methodology that does not comply with DEFENDANT’S
14                     contractual definition of usual, customary and reasonable; and;
15                w. Purports to be confidential and/or proprietary, which prevents access to,
16                     and scrutiny of, the data by members of their employers.
17     34. These and other flaws render DEFENDANT’S use of its data system invalid and
18        unlawful for determining usual, customary and reasonable rates. By systematically and
19        typically making usual, customary, and reasonable rate determinations without
20        compliant and valid data to substantiate its determinations, DEFENDANTS have
21        breached their obligations to reimburse Physicians for out-of-network services.
22        Accordingly, all past usual, customary, and reasonable rate determinations based on
23        DEFENDANT’S data system should be overturned and disregarded.
24     35. DEFENDANT used other improper pricing methods to reduce reimbursement to out-of-
25        network providers. Accordingly, DEFENDANT violated, and continues to violate, its
26        legal obligations to Physicians to pay usual, customary and reasonable rates of
27        reimbursement for services rendered to the Patients, insureds, subscribers, and members.
28     36. DEFENDANT has received claims from the Physicians for a number of years. As such,


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 1        DEFENDANT knew the rates that the Physicians charged for various services.
 2        Moreover, DEFENDANT knew or should have known the amounts charged by other
 3        medical providers for medical services, care, and treatment, since it had received,
 4        reviewed and processed, numerous claims prior to processing the claims at issue in this
 5        litigation. It is standard practice in the healthcare industry for medical providers
 6        (whether in-network or not) to submit claims and bills showing the total charges to
 7        health plans such as DEFENDANT and for DEFENDANT to price those claims, based
 8        either upon the total charges or the contractual rates offered to network providers.
 9     37. The Physicians have also been disparaged by the pervasive under-reimbursement
10        scheme. When a patient refers to his/her evidence of coverage documents promulgated
11        by DEFENDANTS, he/she is led to believe that when he/she seeks out-of-network care
12        their charges will be paid by DEFENDANTS at the "usual and customary rate" of
13        similar physicians for a similar service in a similar area. When a patient obtains out-of-
14        network treatment from providers such as the Physicians and the provider submits the
15        bill to the insurer, a patient learns for the first time that he/she will not be fully
16        reimbursed because the doctor's charges are alleged by DEFENDANT to exceed the
17        usual and customary rate. The physician-patient relationship is undermined, as the
18        physicians have been branded as charlatans whose bills are inflated and unreasonable.
19     38. At all relevant times, DEFENDANT harmed the physicians by making improper usual,
20        customary, and reasonable rate and pricing determinations that reduced the lawful
21        reimbursement amounts for out-of-network providers without valid or compliant data to
22        support such determinations. DEFENDANT further harmed the Physicians by
23        misapplying in-network policies to out-of-network provider claims, and by delaying
24        payments to out-of-network providers under the pretext of negotiation. As a result of
25        these actions, the Physicians were financially harmed and forced to exhaust significant
26        time and resources appealing DEFENDANT’s unlawful determination through a
27        process deliberately designed to deny, delay, and impede out-of-network physician
28        providers from obtaining their rightful reimbursement.


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 1     39. Upon information and belief, DEFENDANT used and continues to use flawed database
 2         data, among other sources, to understate the true market rates of medical care performed
 3         by out-of-network providers. The improper use of this data has caused both patients and
 4         out-of-network providers to experience significant losses. Patients are harmed because
 5         payers like DEFENDANT are not reimbursing out-of-network services at appropriate
 6         levels, which results in out-of-network providers increasingly billing their patients for
 7         amounts charged, which exceed the amounts DEFENDANT covers. Out-of-network
 8         providers like Physicians are harmed because they are not always able to collect these
 9         balances from patients and are forced to take a loss for their services. Moreover, because
10         out-of-network providers are often unaware of the scheme that results in payers like
11         DEFENDANT failing to pay appropriate usual, customary and reasonable rates, they are
12         either powerless to appeal any such improper determinations or their efforts to appeal
13         these determinations are futile. DEFENDANT, by contrast, benefits from paying out-of-
14         network providers at below market rates. If, for example, out-of-network providers fail
15         to realize that the scheme is the cause of their underpayment, DEFENDANT has
16         unlawfully retained money which otherwise belongs to the Physicians for the services
17         provided. DEFENDANT’s ambiguity regarding its method for calculating usual,
18         customary and reasonable rates reflects its participation in this deceptive practice.
19     40. DEFENDANT’s explanation of benefit statements are initially uninformative, false, and
20         misleading regarding the use of usual, customary, and reasonable rates. This ambiguity
21         has resulted in the inconsistent application of usual, customary and reasonable rates to
22         deny Physicians their lawful reimbursement. Usual, customary, and reasonable rates
23         should be applied consistently by DEFENDANTS, but instead are selectively used to
24         deny or diminish lawful reimbursement to Physicians and other out-of-network
25         providers.
26     41. The Physicians' explanation of benefits and remittance advices received from
27         DEFENDANTS often state that their billed charges purportedly exceed the usual,
28         customary, and reasonable rate for the geographic area where the services were


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 1         performed. However, nowhere on the explanation of benefit statements, remittance
 2         advices, or elsewhere in any other correspondence sent to the Physicians do
 3         DEFENDANTS discuss or identify how they actually calculate usual, customary, and
 4         reasonable rates. The Explanation of Benefit statements do not even specify whether
 5         database data or some other methodology was used in these calculations. Instead, the
 6         explanation of benefit statements plainly state that the rates have been determine by
 7         DEFENDANTS. With its methods for calculating usual, customary, and reasonable
 8         rates shrouded in a veil of secrecy, DEFENDANTS have been able to derive improper
 9         rates using faulty data, and apply them to out-of-network providers such as the
10         Physicians.
11                                  FIRST CAUSE OF ACTION:
12              FOR RECOVERY OF PAYMENT FOR SERVICES RENDERED
13                              (AS AGAINST ALL DEFENDANTS)
14     42. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set
15         forth herein.
16     43. At all times herein mentioned, Physicians provided medical services, care, treatment,
17         and/or procedures to Patients as required by law (because the medical services provided
18         were emergency services), thereby benefiting DEFENDANTS and the Patients.
19     44. At all times herein mentioned, DEFENDANTS were required by law to pay usual,
20         reasonable, and customary rates for the emergency care or authorized or deemed
21         authorized post stabilization care provided by the Physicians to the Patients, who were
22         members or subscribers of DEFENDANT. California Health and Safety Code § 1371.4;
23         Bell v. Blue Cross, 131 Cal.App.4th 211. The code and Knox-Keene Act apply to all
24         Health Care Service Plans and the DEFENDANT administered a Health Care Service
25         Plan and is therefore subject to these rules. Also under Bell where an Insurance
26         company runs an indemnity insurance product that is in essence run like a Health Plan
27         product then these rules also come into play.
28     45. At all relevant times, the Physicians rendered care, treatment, and services to the


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 1         Patients in good faith and in reliance upon the legal requirement that insurers pay for the
 2         emergency medical care or authorized or deemed authorized post stabilization care of
 3         those they insure. DEFENDANTS had a duty to pay, reimburse, indemnify, and cover
 4         the Physicians for the care, treatment and services rendered by the Physicians to the
 5         Patients pursuant to California Health & Safety Code §§ 1371, 1371.35, and 1371.4
 6         following the rendition of services and treatment by the Physicians to the Patients.
 7         Further, DEFENDANTS had a duty to pay usual, customary, and reasonable rates for
 8         the services rendered by the Physicians in compliance with 28 California Code of
 9         Regulations § 1300.71 et seq. For the Patients, DEFENDANTS have failed and refused
10         to comply with 28 California Code of Regulations § 1300.71 et seq.
11     46. At all relevant times, the Physicians rendered care and treatment to the Patient.
12         DEFENDANT had a duty to pay, reimburse and cover the cost of such treatment and
13         services by payment to the Physicians for the medical services, care, treatment, and/or
14         procedures rendered by the Physicians to the Patients, pursuant to California Health &
15         Safety Code §§ 1371, 1371.35, and 1371.4, and was prohibited from denying or refusing
16         coverage, payment, indemnity, or reimbursement for the cost for treatment and services
17         rendered by the Physicians to the Patients. Further, DEFENDANTS had a duty to pay
18         usual, customary, and reasonable rates for the services rendered by NAMDY’s assignor
19         in compliance with 28 California Code of Regulations § 1300.71 et seq. and have failed
20         and refused to pay usual, customary, and reasonable amounts.
21     47. At all relevant times, 28 California Administrative Code § 1300.71 et seq. required that
22         DEFENDANTS reimburse the Physicians for the claims submitted on behalf of the
23         Patient within 45 days after DEFENDANTS received the Patient's claims from the
24         Physicians. 28 Cal. Admin. Code Tit. 28 Section 1300.71(a)(3) defines the manner and
25         method by which reasonable and customary rates are to be defined by DEFENDANTS,
26         providing:
27                 (B) For contracted providers without a written contract and non-
                   contracted providers, except those providing services described in
28
                   paragraph (C) below: the payment of the reasonable and customary

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 1                 value for the health care services rendered based upon statistically
                   credible information that is updated at least annually and takes into
 2
                   consideration: (i) the provider's training, qualifications, and length of
 3                 time in practice; (ii) the nature of the services provided; (iii) the fees
                   usually charged by the provider; (iv) prevailing provider rates charged
 4
                   in the general geographic area in which the services were rendered; (v)
 5                 any unusual circumstances in the case; and (C) For non-emergency
                   services provided by non-contracted providers to PPO and POS
 6
                   enrollees: the amount set forth in the enrollee's Evidence of Coverage.
 7
       48. As a proximate result of the violation of California Health & Safety Code §§ 1371.8 and
 8
           1371, California Insurance Code § 796.04, California Insurance Code § 796.04 and/or
 9
           28 C.C.R. § 13700.1 by DEFENDANT, which acts were intentional, willful and
10
           knowing, the Physicians have never been paid for any of the medical services, care,
11
           treatment, and/or procedures provided to the Patient or have been underpaid for such
12
           medical services, care, treatment, and/or procedures. By their acts and omissions,
13
           DEFENDANTS have failed and refused to pay the usual, customary, and reasonable
14
           value for the services rendered by the Physicians to the Patients.
15
       49. The Physicians are owed reimbursement, compensation, and payment of the cost of the
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           medical services, care, treatment, and/or procedures which they rendered and provided
17
           to the Patient at the Physicians' billed rates or at rates equivalent to the usual, customary,
18
           and reasonable value for their services, in conformance with the legal requirements that
19
           they provide emergency care or authorized or deemed authorized post stabilization care
20
           to any patient and that the insurance of any patient who received emergency care or
21
           authorized or deemed authorized post stabilization care pay the provider of the care at
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           usual, customary, and reasonable rates.
23
       50. The Physicians have demanded that DEFENDANT pay for the medical treatment
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           provided to the Patient, and has submitted statements to DEFENDANT for the medical
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           services rendered to the Patient.
26
       51. DEFENDANTS have failed and refused to pay, and continue to refuse to pay the
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           Physicians for such services rendered at appropriate rates and have underpaid the
28
           Physicians by failing and refusing to pay usual, customary and reasonable rates.

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 1         Accordingly, there is now due and owing an unpaid sum, plus statutory interest thereon.
 2     52. The Patient Protection and Affordable Care Act (PPACA) §1302 mandates that certain
 3         "Essential Health Benefits" must be covered by all health plans, and emergency services
 4         is one of them. PPACA § 1302(b)(1)(B). The law states that "a qualified health plan
 5         will not be treated as providing coverage for the essential health benefits... unless the
 6         plan provides that… (ii) if such services are provided out-of-network, the cost-sharing
 7         requirement (expressed as a copayment amount or coinsurance rate) is the same
 8         requirement that would apply if such services were provided in-network." PPACA §
 9         3102(b)(4)(E). Prudent practices will note that the cost-sharing requirement imposed
10         upon an enrollee for emergency services provided in-network is 0%. Thus, federal law
11         requires the health plan to reimburse an out-of-network provider at 100% of billed
12         charges for emergency services in order to ensure the same cost sharing requirement of
13         0% for out-of-network services.
14     53. It is therefore clear that the Defendants own Contract/Plan with the Patient requires that
15         the Defendant must pay Physicians for Emergency Care at a rate equivalent to the
16         Copayment or Coinsurance rate with the in Network rates within that Contract/Plan. The
17         Patient has had such Emergency care and the Physician who has provided that care has
18         been denied payment in breach of that same said contract.
19     54. In any event, the Defendant must be bound by the terms of the Contract/Plan that they
20         have between them and the patient which covers scenarios where the Patient requires
21         emergency care. It is understood and expected that the wording will include reference to
22         Usual, Customary and Reasonable Rates in respect of the payment for those emergency
23         services. In the event that usual, customary and reasonable rates is not specifically
24         defined in the Contract/Plan then the Definition as described in the Health and Safety
25         Code.
26     55. In the event that this Court does not accept that the Defendant is bound by the Knox-
27         Keene Act, and only the contract itself should apply, any restriction that would normally
28         apply to the Physicians on balance billing the Patients for emergency services must


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 1         therefore also not apply and the Court is asked to confirm this position.
 2                                 SECOND CAUSE OF ACTION:
 3              FOR RECOVERY OF PAYMENT ON OPEN BOOK ACCOUNT
 4                              (AS AGAINST ALL DEFENDANTS)
 5     56. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set
 6         forth herein.
 7     57. DEFENDANT has become indebted to the Physicians on open book accounts for the
 8         Patients, for money due in the sum to be determined at the time of trial for medical
 9         services rendered by the Physicians to the Patients.
10     58. The Physicians have provided medical treatment to the Patient, and have maintained
11         contemporaneous, itemized and detailed records and statements of each medical service
12         provided to the Patients. The Physicians have provided DEFENDANT with statements
13         itemizing the medical treatment provided to the Patients, along with an accounting of
14         the amounts owed by DEFENDANT.
15     59. DEFENDANT has refused to pay, and continues to refuse to pay, the Physicians the
16         billed charges submitted by the Physicians and/or the usual and customary charges owed
17         to the Physicians for the treatment, surgeries, procedures and medical services provided
18         to the Patients. Accordingly, there is now due and owing an unpaid sum in an amount to
19         be determined at the time of trial, plus statutory interest.
20                                  THIRD CAUSE OF ACTION
21                                   FOR QUANTUM MERUIT
22                                (AGAINST ALL DEFENDANTS)
23     60. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully set
24         forth herein.
25     61. As required by law (because the medical services provided were emergency services),
26         the Physicians provided surgeries, procedures, medical treatments, and other medical
27         services to the Patients, thereby benefitting DEFENDANT and the Patients.
28     62. DEFENDANTS have failed and refused to pay the Physicians the appropriate amounts


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 1         incurred by the Physicians in rendering medical services, care, treatment, and/or
 2         procedures to the Patients, have underpaid those costs and have failed and refused to
 3         pay the usual, reasonable, and customary costs of those services.
 4     63. At all times herein mentioned, DEFENDANTS were required by law to pay usual,
 5         reasonable, and customary rates for the emergency care provided by the Physicians to
 6         the Patients, who were members or subscribers of DEFENDANT. California Health and
 7         Safety Code § 1371.4; Bell v. Blue Cross, 131 Cal.App.4th 211. Alternatively, Plaintiff
 8         is informed and believes and thereon alleges that, at all times herein mentioned, and
 9         based on the circumstances of the parties' relationship to one another, the services
10         furnished by Physicians were furnished at the implied request and/or insistence of the
11         DEFENDANT on behalf of the Patients.
12     64. DEFENDANT is required to reimburse the Physicians at a quantum meruit rate for all
13         services rendered to the enrollees, the Patients. The quantum meruit amount owed by
14         DEFENDANT to the Physicians is determined according to the customary charges that
15         would be billed by the Physicians and/or other physicians in the absence of preferred
16         provider or participating provider contractual rates. Based upon Patient or Hospital's
17         request that the Physicians render treatment, surgeries, procedures and medical services
18         to the Patient, and the fact that DEFENDANT was benefitted by the provision of such
19         services by the Physicians, an obligation on the part of DEFENDANT to make
20         restitution to the Physicians arose.
21     65. In Regents of the University of California v. Principal Financial Group, 412
22         F.Supp.2d. 1037, 1042 (N.D. Cal. 2006), the federal trial court held that California law
23         no longer requires that a defendant be benefitted in order for a quantum meruit claim to
24         lie. It found that: In Earhart v. William Low Company, 25 Cal.3d. 503, 511, 158
25         Cal.Rptr. 887, 600 P.2d. 1344 (1979), the California Supreme Court abrogated the
26         common law requirement that there be benefit to the defendant in a quantum meruit
27         claim, noting “that performance of services at another’s behest may itself constitute
28         ‘benefit’ such that an obligation to make restitution may arise.” Thus, the fact that


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 1         Mr. Donner was the direct beneficiary of the medical treatment does not bar plaintiff’s
 2         claim.” Thus the fact that DEFENDANT's neither directly requested the treatment nor
 3         were the direct beneficiary of the treatment is not a block to quantum meruit.
 4     66. The quantum meruit rate for the medical treatment the Physicians provided to the
 5         Patients is an amount to be determined at trial. This amount represents the usual,
 6         customary and reasonable cost or charge for the services rendered by the Physicians.
 7         The Physicians have submitted statements to DEFENDANT for these amounts, and
 8         have made repeated demands that they be paid for the medical treatment provided to the
 9         Patient at usual, customary, and reasonable rates.
10     67. DEFENDANT has refused to pay, and continues to refuse to pay, the Physicians for the
11         whole or any part of the sums owed to the Physicians for the treatment, surgeries,
12         procedures and medical services provided to the Patient, at usual, customary and
13         reasonable rates. Accordingly, there is now due and owing an unpaid sum, plus statutory
14         interest.
15                                 FOURTH CAUSE OF ACTION
16                          FOR BREACH OF IMPLIED CONTRACT
17                               (AS AGAINST ALL DEFENDANTS)
18     68. Plaintiff incorporates all allegations set forth in the above paragraphs as though fully
19           set forth herein.
20     69. NAMDY is informed and believes and thereon alleges that, at all relevant times herein,
21         the Patients had valid policies with DEFENDANT or were members, subscribers,
22         insureds, or were otherwise entitled to coverage, indemnification and payment as
23         policyholders or certificate-holders of insurance policies and certificates issued and
24         underwritten by DEFENDANT.
25     70. NAMDY is informed and believes that the Patients obtained such policies from
26         DEFENDANT for the specific purposes of (1) ensuring that the patients would have
27         access to medically necessary treatments at healthcare facilities, and (2) ensuring that
28         DEFENDANT would pay for the healthcare expenses incurred by the patients.


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 1         71. DEFENDANTS knew or reasonably should have known that its insureds would seek
 2             medical treatment from the Physicians.
 3         72. NAMDY is informed and believes that DEFENDANT received and continues to receive
 4             valuable premium payments from the Patients under the relevant insurance policies.
 5         73. Since Physicians were required by law to treat the Patients in emergency situations, they
 6             agreed by implication to treat the Patients. DEFENDANTS, by law, were required to
 7             pay Physicians at the usual, customary, and reasonable rate for emergency services and
 8             therefore agreed by implication to pay usual, customary, and reasonable rates to
 9             Physicians. California Health and Safety Code § 1371.4; Bell v. Blue Cross, 131
10             Cal.App.4th 211.
11         74. In consideration for the Physicians' implied agreement to treat the Patients,
12             DEFENDANT implicitly agreed to reimburse the Physicians for the expenses incurred
13             by the Patients in the course of being treated and undergoing surgeries or procedures
14             rendered by the Physicians and agreed to pay the Physicians a usual and customary rate
15             for those services.
16         75. The Physicians provided medical treatment to the Patient. DEFENDANT has refused to
17             pay, and continues to refuse to pay, the Physicians for the whole or a part of the sums
18             owed to the Physicians at appropriate rates for the treatment services provided to the
19             Patients.
20         76. As a result of the foregoing breach, the Physicians have been damaged by
21             DEFENDANT in an amount to be determined at trial. Accordingly, there is now due
22             and owing an unpaid sum, plus statutory interest thereon.
23         77. The implied contract is implied by statute, namely the Knox-Keene Act, rather than any
24             specific words spoken by the DEFENDANT.
25   ///
26   ///

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 1                                           FIFTH CAUSE OF ACTION
 2                                      FOR DECLARATORY RELIEF

 3                                    (AS AGAINST ALL DEFENDANTS)

 4         78. Plaintiffs incorporate all allegations set forth in the above paragraphs as though fully set

 5             forth herein.

 6         79. A dispute has arisen between the Physicians and DEFENDANT as to the amount that

 7             DEFENDANT is required to pay the Physicians for the medically necessary services

 8             provided by the Physicians to the Patients. DEFENDANT contends that it owes the

 9             Physicians nothing in connection with the services, surgeries, and procedures provided

10             to the Patients. The Physicians contend that they are entitled to receive payment in an

11             amount to be determined at trial, plus statutory interest, for the medical services

12             provided to the Patients during the course of their treatment.

13         80. NAMDY seeks and desires a judicial determination by the Court that DEFENDANT is

14             required to pay the Physicians for the specific services, surgeries, procedures, and other

15             medical treatments provided to the Patients during the course of their treatment by the

16             Physicians at the billed or total rates charged by the Physicians, carried out under the

17             same CPT codes, in the same geographical areas as in these cases at the same rate as

18             decided in this litigation.

19         81. Such a declaration is necessary and appropriate at this time so that the Physicians and

20             DEFENDANT may ascertain their rights, duties, and obligations concerning the medical

21             services the Physicians provided to the Patients. This will save further court

22             time, as the same CPT code carried out by the same Provider in the same geographical

23             area should be the same rate subject to any rule change to the contrary and no further

24             Court action should be required to decide the same issue.

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 1                                     PRAYER FOR RELIEF
 2        WHEREFORE, Plaintiff NAMDY CONSULTING, INC. prays for judgment against
 3   DEFENDANT as follows:
 4     1. For compensatory damages in an amount to be determined, plus statutory interest;
 5     2. For restitution in an amount to be determined, plus statutory interest;
 6     3. For a declaration that ANTHEM is obligated to pay plaintiff all monies owed for medical
 7        services rendered to the Patient; and
 8     4. For such other further relief the Court deems just and appropriate.
 9
10   DATED: February 19, 2018                            Respectfully submitted,
11
12
                                                   By: ________________________
13
                                                         ALAN NESBIT
14                                                       Attorney for Plaintiff
15                                                       NAMDY CONSULTING, INC.
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 1                               DEMAND FOR JURY TRIAL
 2   Plaintiff, NAMDY CONSULTNG, INC. hereby demands a jury trial as provided by law.
 3
 4   DATED: February 19, 2018                       Respectfully submitted,
 5
 6
                                              By: ________________________
 7
                                                    ALAN NESBIT
 8
                                                    Attorney for Plaintiff
 9                                                  NAMDY CONSULTING, INC.
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                                     DEMAND FOR JURY TRIAL
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 1                                        PROOF OF SERVICE
 2
           I am employed in the County of Los Angeles, State of California. I am over the age of 18
 3   and not a party to the within action; my business address is 8383 Wilshire Boulevard, Ste. 800,
     Beverly Hills, CA 90211.
 4
 5          On February 19, 2018, I served the foregoing documents described as:
 6
               NAMDY CONSULTING, INC.’S SECOND AMENDED COMPLAINT
 7
     on the interested parties to this action by placing a copy thereof enclosed in a sealed envelope
 8
     addressed as follows:
 9
                                        See Service List - Next Page
10
11   __X__(BY MAIL) I am readily familiar with the business practice for collection and processing
          of correspondence for mailing with the United States Postal Service. This
12
          correspondence shall be deposited with the United States Postal Service this same day in
13        the ordinary course of business at our Firm’s office address in Los Angeles, California.
          Service made pursuant to this paragraph, upon motion of a party served, shall be
14
          presumed invalid if the postal cancellation date of postage meter date on the envelope is
15        more than one day after the date of deposit for mailing contained in this affidavit.
16
     ___    (BY PERSONAL SERVICE) I caused such envelope to be delivered by hand to the
17          offices of the above-named addressee(s).
18
     _X__ (BY ELECTRONIC MAIL) I caused such documents to be delivered via e-mail to the
19        offices of the addressee(s) at their respective e-mail addresses:
20
            Executed this 20th day of February 2018, at Beverly Hills, California.
21
             I declare under penalty of perjury under the laws of the State of California that the above
22
     is true and correct.
23
                                               /s/Linda P. Lavallee
24
                                               Linda P. Lavallee
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                                          DEMAND FOR JURY TRIAL
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 1                                     SERVICE LIST
 2
         Counsel for Defendant Anthem Blue Cross
 3
         Carol Burney Lewis, Esq.             Email: CLewis@vbhlaw.com
 4
         VON BEHREN & HUNTER LLP
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         El Segundo, CA 90245
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